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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


HANG LI, Individually and on Behalf of All   Case No. 1:23-cv-03722-PAE
Others Similarly Situated,
                                             AMENDED CLASS ACTION
              Plaintiff,                     COMPLAINT FOR VIOLATIONS OF
                                             THE FEDERAL SECURITIES LAWS
       v.
                                             JURY TRIAL DEMANDED
SPIRIT AEROSYSTEMS HOLDINGS,
INC., TOM GENTILE III, and MARK J.
SUCHINSKI,

               Defendants.
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Exhibit 1 –   Certification of Plaintiff Alex Freeman

Exhibit 2 –   February 22, 2022 internal Spirit email chain regarding documentation of defects

Exhibit 3 –   February 22, 2022 internal Spirit ethics complaint

Exhibit 4 –   March 16, 2022 internal Spirit email to Defendant Gentile regarding ethics
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       Lead Plaintiff Hang Li and named plaintiff Alex Freeman (“Plaintiffs”), individually and

on behalf of all others similarly situated, by and through their attorneys, allege the following based

upon information and belief, except as to those allegations concerning Plaintiffs, which are alleged

upon personal knowledge. Plaintiffs’ information and belief is based upon, among other things,

their counsel’s investigation, which includes, without limitation: (a) review and analysis of

regulatory filings made by Spirit AeroSystems Holdings, Inc. (“Spirit” or the “Company”) with

the United States Securities and Exchange Commission (“SEC”); (b) interviews with former

employees of Spirit; (c) review and analysis of press releases and media reports issued and

disseminated by Spirit; and (d) review of other publicly available information concerning Spirit.

I.     NATURE OF THE ACTION AND OVERVIEW

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities who purchased or otherwise acquired the Class A common stock of Spirit between

April 8, 2020 and September 7, 2023, both dates inclusive (the “Class Period”), and who were

damaged thereby. Plaintiffs seek to recover compensable damages caused by Defendants’

violations of the federal securities laws and to pursue remedies under Sections 10(b) and 20(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”) and SEC Rule 10b-5 promulgated

thereunder.

       2.      Spirit AeroSystems is the main supplier of parts to The Boeing Company

(“Boeing”), and Boeing is Spirit’s main customer. One of Spirit’s primary roles is to manufacture

the majority of the fuselage for Boeing 737 aircraft, which fuselages Spirit ships to Boeing for

final assembly of completed aircraft.

       3.      Spirit’s business was severely affected when, after tragic accidents involving

Boeing 737 MAX aircraft in October 2018 and March 2019, regulators worldwide, including the

U.S. Federal Aviation Administration (“FAA”), grounded the 737 MAX due to safety concerns.
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From that time through the present, the safety and quality of the 737 MAX and its components has

been a key focus for Defendants, investors, and the flying public.

       4.       Throughout the Class Period, Spirit and its executives touted the purported safety

and quality of Spirit’s products to investors, for example, stating “Spirit is dedicated to a

Zero‑Defect target, with no escapements1 to our customers,” Spirit works to “ensure impeccable

product quality and safety,” “we build product that is the right quality, the first time that don’t

break,” “[w]e are going above and beyond what the requirements ask of us to make sure that our

customers are successful when it comes to quality,” and “we have a great quality system that

ensures our parts are inspected and controlled and go out FOD [foreign object debris] free and

defect free.”

       5.       Defendants, prior to and throughout the Class Period, emphasized the importance

of the 737 MAX program to their Company, as well as their heightened sensitivity to, and personal

involvement in, ensuring the quality of Spirit’s product, particularly in light of the 737’s previous

failures. Defendants in various statements highlighted their refined processes, safeguards, and core

competencies in safety and quality to assuage investors’ concerns about these significant issues.

       6.       However, Defendants concealed from investors that Spirit suffered from

widespread and sustained quality failures. These failures included defects such as the routine

presence of foreign object debris (“FOD”) in Spirit products, missing fasteners, peeling paint, and

poor skin quality. Such constant quality failures resulted in part from Spirit’s culture which

prioritized production numbers and short-term financial outcomes over product quality, and




1
  In this context “escape” or “escapement” means a defect or nonconformance with manufacturing
requirements.
                                                 2
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Spirit’s related failure to hire sufficient personnel to deliver quality products at the rates demanded

by Spirit and its customers including Boeing.

       7.       Spirit’s quality failures were so severe and persistent that Boeing even placed Spirit

on probation for multiple years, from approximately 2018 through at least 2021. Boeing placing a

supplier like Spirit on probation creates very serious risks for the supplier. Probation is the last

step Boeing takes before “the supplier could be withdrawn” for continued failures.

       8.      While Spirit’s widespread quality failures were almost certainly known to

Defendants throughout the Class Period, they were undoubtedly known after March 16, 2022. On

that date, a Spirit Quality Inspector Team Lead emailed Defendant Gentile (see Exhibit 4) a copy

of an ethics complaint (see Exhibit 3) that he had filed in response to his manager demanding that

his team falsify documentation to underreport numbers of defects in Spirit products. The

employee’s email stated that “I have lost faith on the quality organization here at spirit and this is

my last cry for help into resolving this issue that violates the guide lines stablished by the AS9100

which governs our certification to build aircraft and which has been in question and even put on

probation by Boeing on previous years.” The ethics complaint attached to that email noted “the

excessive amount of defects” and explained that the employee had been instructed to misreport the

numbers of defects in a way “which would be falsifying the documentation.” Defendant Gentile

responded to the email. Spirit later sustained the allegations in the employee’s ethics complaint.

       9.      Predictably, Spirit’s widespread quality failures have resulted in serious defects,

including two that have been recently revealed. The public only learned about the existence of the

defects and their implications after Boeing and various media outlets, not Spirit, first reported the

problems. First, in October 2022 Spirit Product and Process Verification Core Quality Auditor

Joshua Dean identified that Spirit had mis-drilled holes on the 737 MAX aft pressure bulkhead



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and that this was a very significant problem. The aft pressure bulkhead is a critical part of an

airplane, which is necessary to maintain cabin pressure during flight. Dean reported this defect to

multiple Spirit employees over a period of several months, including submitting formal written

findings to his manager. However, Spirit concealed the defect.

        10.     Second, on April 13, 2023, Boeing revealed to the press that it had learned of a

defect relating to the tail fin fittings on certain 737 MAX aircraft. Subsequent reporting revealed

that the defect was due to Spirit’s improper installation of tail fin fittings. In direct response to this

news, Spirit’s stock price plunged over 20% the following day. Spirit belatedly confirmed the tail

fin fittings defect after it had been revealed by Boeing and the press but remained silent about the

mis-drilled aft pressure bulkhead holes defect.

        11.     Over the following months more details were revealed about the scope and impact

of the tail fin fittings defect, causing further substantial declines in Spirit’s stock price. Yet, Spirit

continued to conceal the mis-drilled aft pressure bulkhead holes defect. Spirit also continued to

make highly misleading statements, including that it was now delivering products to Boeing “with

no defects,” and that it had “shared a lot of information” with Boeing, all the while concealing the

mis-drilled aft pressure bulkhead holes defect not only from investors, but also apparently from

Boeing.

        12.     On August 23, 2023, Boeing revealed to the press that it had “identified fastener

holes that did not conform to our specifications in the aft pressure bulkhead on certain 737

airplanes.” This was the same defect first identified by former Spirit employee Joshua Dean in

October 2022, ten months earlier. After reporting by aerospace industry news publication The Air

Current and other sources identified Spirit as the source of the defect, Spirit belatedly confirmed




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the issue in a press release. In direct response to this news, Spirit’s stock price plunged a further

12.7% the following day.

       13.     At the end of the Class Period, during a presentation at an investor conference,

Defendant Gentile revealed Spirit’s knowledge regarding pervasive quality issues and its

concealment of the mis-drilled holes defect, admitting that Spirit had been working on a solution

to that defect when the “escape” was found by Boeing. Gentile also candidly admitted, “[s]o

escapes happened, and they happen on all programs. They usually don’t get this much attention.”

       14.      Three weeks after those comments Spirit abruptly replaced Gentile, naming an

interim CEO in his stead.

       15.     Shortly thereafter, Boeing required Spirit to enter into a “Stability Plan” to address

its widespread quality failures.

       16.     As a result of Defendants’ misleading statements and omissions, and the resulting

precipitous decline in the market value of Spirit’s stock, Plaintiffs and other Class members have

suffered significant losses and damages.

II.    JURISDICTION AND VENUE

       17.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and SEC Rule 10b-5 promulgated thereunder (17 C.F.R. §

240.10b-5).

       18.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       19.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa). The alleged misstatements entered and subsequent

damages took place within this judicial district. Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District.
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          20.   In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

III.      PARTIES

          21.   Lead Plaintiff Hang Li, as set forth in his previously filed certification (Dkt. No. 1

at pages 41-43), incorporated by reference herein, purchased Spirit shares during the Class Period,

and suffered damages as a result of the federal securities law violations and false and/or misleading

statements and/or material omissions alleged herein.

          22.   Plaintiff Alex Freeman, as set forth in the attached certification (Exhibit 1),

purchased Spirit shares during the Class Period, and suffered damages as a result of the federal

securities law violations and false and/or misleading statements and/or material omissions alleged

herein.

          23.   Defendant Spirit AeroSystems Holdings, Inc. is incorporated in Delaware and

maintains its principal executive offices at 3801 South Oliver, Wichita, Kansas 67210. Spirit’s

shares are listed and trade on the New York Stock Exchange (“NYSE”) under the ticker symbol

“SPR”.

          24.   Defendant Tom Gentile III served as President and Chief Executive Officer of

Spirit from August 1, 2016 to September 30, 2023. He joined Spirit in April 2016 as Executive

Vice President and Chief Operating Officer. From 2016 until September 30, 2023, Gentile also

served as a member of Spirit’s Board of Directors.

          25.   Defendant Mark Suchinski has served as Senior Vice President and Chief Financial

Officer of Spirit since January 29, 2020. In this role he is responsible for the overall financial

management of the Company, its financial reporting and transparency, and multiple corporate
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functions including Controllership and Treasury. He also has responsibility for Contracts, Investor

Relations, Strategy, and Mergers and Acquisitions. Defendant Suchinski has been with Spirit since

2006, in roles including Vice President, Quality, from August 2019 to January 2020 and Vice

President, Boeing 787 Program, from February 2018 to August 2019.

       26.     Defendants Gentile and Suchinski (collectively the “Individual Defendants”),

because of their positions with the Company, possessed the power and authority to control the

contents of the Company’s reports to the SEC, press releases and presentations to securities

analysts, money and portfolio managers and institutional investors, i.e., the market. The Individual

Defendants were provided with copies of the Company’s reports and press releases alleged herein

to be misleading prior to, or shortly after, their issuance and had the ability and opportunity to

prevent their issuance or cause them to be corrected. Because of their positions and access to

material non-public information available to them, the Individual Defendants knew that the

adverse facts specified herein had not been disclosed to, and were being concealed from, the public,

and that the positive representations that Defendants made were then materially false and/or

misleading. The Individual Defendants are liable for the false statements pleaded herein.

       27.     The Company and the Individual Defendants are referred to herein, collectively, as

the “Defendants.”

IV.    BACKGROUND REGARDING SPIRIT

       A.      Spirit Was Created As A Spinoff From Boeing In 2005, And Boeing Has
               Remained Spirit’s Key Customer Ever Since

       28.     In 2005 Boeing sold its commercial fabrication operations in Wichita, Kansas and

Oklahoma, encompassing various manufacturing facilities and approximately 8,500 employees, to

Canadian private equity firm Onex Corporation. This newly divested Boeing division began

operating under the name Spirit AeroSystems, with Onex taking the company public in 2006.


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       29.     Despite becoming an independent public company, at all times Spirit remained

heavily dependent on Boeing as Spirit’s key customer, and Boeing remained heavily dependent on

Spirit as the largest supplier of components for Boeing aircraft. From the 2005 divestiture through

present, one of Spirit’s primary roles has been to manufacture the majority of the fuselage for

Boeing 737 aircraft, which it ships to Boeing for final assembly of completed aircraft.

       30.     In connection with the 2005 divestiture, Boeing and Spirit entered into long-term

supply agreements under which Spirit would be, and has remained, Boeing’s exclusive supplier

for substantially all of the products and services that Spirit previously provided when it was still a

part of Boeing. Those supply agreements include products for Boeing’s 737, 747, 767, 777, and

787 aircraft programs, and the agreements cover the life of those programs including any

commercial derivative models of the aircraft.

       31.     Spirit’s agreements require Boeing to purchase from Spirit all its requirements for

various products including fuselages, struts/pylons, and nacelles (including thrust reversers),

wings and wing components, as well as tooling. Spirit is the sole source supplier to Boeing of

nearly all of the products it sells to Boeing.

       32.     While Spirit previously attempted to diversify its customer base away from Boeing,

it had only limited success in doing so. In 2022 Boeing still accounted for 65% of Spirit’s

commercial segment net revenues, and 60% of Spirit’s overall net revenues.

       33.     After the end of the Class Period, Spirit abandoned, or at least halted, its plans to

diversify away from Boeing. On Spirit’s November 2, 2023 earnings call for the third quarter of

2023, Wolfe Research LLC analyst Myles Walton asked “is diversification necessary to make

Spirit a great company?”, to which Spirit’s interim CEO Patrick Shanahan responded in relevant




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part, “[t]o the degree that Spirit has approached that in the past, I would say, no. Diversification

doesn’t make sense at this time.”

       B.      Spirit’s Business Depends On Manufacturing Boeing 737 MAX Airplane
               Components

       34.     The Boeing 737 family of aircraft are narrow-body, single aisle planes produced by

Boeing at its factories in Everett and Renton, Washington. The fuselage is manufactured by Spirit

in Wichita, before being moved by rail to Washington. The 737 is one of the highest-selling

commercial aircraft of all time, with over 11,000 delivered.

       35.     The initial 737 models, referred to as 737 Original, entered service in 1968. A

second generation referred to as 737 Classic, entered service in 1984. The third generation, called

the 737 NG or Next Generation, entered service in 1997. The fourth and latest generation is the

737 MAX series, including the 737-7, -8, -9, and -10, which entered service in 2017.

       36.     As stated in Spirit’s SEC filings, “Our business depends largely on sales of

components for a single aircraft program, the B737 MAX.” 53% of Spirit’s net revenues were

generated from sales of components to Boeing for the 737 in 2019, and 45% in 2022. At year-end

2022, the 737 MAX accounted for 58% of Spirit’s order backlog. As such, the 737 MAX is

critically important to Spirit’s business.

       C.      Spirit Lost Business And Fired Workers Following The 2019 Grounding Of
               The 737 MAX And The 2020 Implementation Of COVID Restrictions

       37.     Two events in recent years had a profound, negative impact on Spirit’s business:

the grounding of the 737 MAX due to safety concerns, and the decrease in travel from the

implementation of COVID related restrictions.

       38.     On October 29, 2018, Lion Air Flight 610 from Jakarta, Indonesia, operating a 737

MAX 8, crashed killing all 189 people aboard. On March 10, 2019, Ethiopian Airlines Flight 302

from Addis Ababa, Ethiopia, also operating a 737 MAX 8, crashed killing all 157 people aboard.

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The crashes, occurring close in time and both involving the 737 MAX, generated widespread

publicity and concern over the safety of the aircraft.

       39.     Over March 11-13, 2019, regulators worldwide, including the U.S. Federal

Aviation Administration (“FAA”), grounded the 737 MAX. The 737 MAX remained grounded in

major markets for more than a year and a half. The FAA allowed it to return to service in November

2020. Canadian and European regulators allowed the 737 MAX to resume service in January 2021.

China did not allow the 737 MAX to resume service until December 2021.

       40.     The grounding orders and concerns over safety drastically reduced demand for the

737 MAX, with corresponding decreases in production at Boeing and at Spirit.

       41.     While the 737 MAX remained grounded, the COVID pandemic emerged.

Throughout 2020 and much of 2021, governments around the world enacted restrictions banning

or limiting air travel, in an effort to reduce or delay the pandemic’s spread. At the same time,

demand for commercial flights plummeted as previously in-person activities were cancelled or

conducted remotely. This caused the worst downturn in the history of the aviation industry.

       42.     The dual impacts of the 737 MAX grounding and the COVID pandemic severely

harmed Spirit’s business. Boeing directed Spirit to suspend all 737 MAX production beginning on

January 1, 2020. After the grounding orders began to be lifted, in December 2020, Boeing resumed

deliveries of the 737 MAX. However, even then production at Spirit remained at substantially

reduced levels due to decreased demand. Boeing and other Spirit customers likewise reduced their

demand for Spirit products. This put tremendous financial strain on Spirit, as its revenue halved

from pre-pandemic levels.

       43.     In response to the dramatic decrease in demand following the 737 MAX grounding

and COVID pandemic, Spirit increased its long-term debt by hundreds of millions of dollars, and



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instituted mass layoffs. Whereas Spirit had 15,900 U.S. employees at year-end 2019, according to

Defendant Gentile’s remarks at the September 7, 2023 Jefferies Industrials Conference, Spirit “laid

off 8,500 people in Wichita alone during the pandemic,” a reduction of over 50% of the U.S.

workforce.

       D.      Following The Grounding Of The 737 MAX, Defendants Sought To Reassure
               Investors About The Safety And Quality Of Spirit’s Products

       44.     Following the Lion Air and Ethiopian Airlines accidents and the subsequent

worldwide grounding of the 737 MAX, the safety and quality of the 737 MAX and its components

became a key focus for Defendants, investors, and the flying public. Defendants therefore sought

to reassure by emphasizing the safety and quality of Spirit’s products in their public statements to

investors.

       45.     For example, Defendants emphasized safety and quality in Spirit’s first public

conference call following the March 2019 grounding of the 737 MAX. Spirit held its earnings call

for the first quarter of 2019 on May 1, 2019. Defendant Gentile began the earnings call by stating:

       We had a strong quarter financially and I will summarize those results shortly, but
       I want to begin today by focusing on the recent situation involving the 737 MAX.
       In our industry, safety is the most important priority. We focus every day on safety
       in our factories and in the products we build. We know that millions of people
       around the world depend on the safety of the planes they fly every day, which is
       why all of us were so devastated after the recent accidents involving Lion Air and
       Ethiopian Airlines. Our sincere condolences go out to the families of those involved
       in these tragic events. Everyone is well aware of all the efforts that Boeing is taking
       to address the 737 MAX situation. We are proud to be a partner on the MAX, and
       we’ll work with our largest customer, Boeing, and provide them with whatever
       support they need as they work with regulators around the world to return the MAX
       to service.

       46.     Later in the earnings call, Defendant Gentile stated:

       The changes in the MAX production schedule will result in us maintaining the
       production rate of 52 aircraft per month, longer than previously planned. While this
       will result in fewer units produced this year, it will also give us more time to
       stabilize our production system and improve quality and efficiency.


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       47.     Defendant Gentile similarly stated, “During this period of time our focus has been

entirely on the MAX, and adjusting the production schedules, making sure we’re delivering

quality.”

       48.     As discussed below in Part VII, Defendants’ public statements to investors

continued to emphasize the safety and quality of Spirit’s products throughout the Class Period.

       49.     Even at the end of the Class Period, on September 7, 2023, Defendant Gentile

acknowledged the continued focus on safety and quality years after the initial grounding of the

737 MAX, stating, “I would say there’s greater scrutiny on quality in general, post the MAX

grounding and post the pandemic and particularly on the MAX, for obvious reasons.”

       E.      The FAA Has Previously Levied Fines Totaling Millions Of Dollars Against
               Boeing For Using Defective Parts Supplied By Spirit

       50.     Spirit has a documented history of supplying defective parts to Boeing and failing

to promptly disclose or fix the defects.

       51.     On December 6, 2019, the FAA announced a proposed civil penalty of $3.9 million

against Boeing for installing nonconforming components, provided to Boeing by Spirit, on

approximately 133 aircraft. The affected planes were Boeing 737 NG aircraft.

       52.     According to the FAA, the parts in question were slat tracks, which are located on

the leading edge of the wings of a Boeing 737 and are used to guide the movement of panels known

as slats. These panels provide additional lift during takeoff and landing. The affected slat tracks

were processed by Southwest United Industries (SUI) on June 29, 2018. SUI subsequently shipped

the parts to Spirit, which then delivered the parts to Boeing.

       53.     The FAA alleged that Spirit was informed on or about August 3, 2018 that a batch

of the slat tracks had failed a quality test indicating the presence of hydrogen embrittlement.

According to the FAA, Spirit informed Boeing of the situation on or about September 11, 2018,


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and subsequently proposed that Boeing accept the parts as delivered. On October 9, 2018, Boeing

rejected that proposal and instructed Spirit to submit a Notice of Escapement. Spirit filed that

notice on February 14, 2019.

       54.    On January 10, 2020, the FAA announced a proposed civil penalty of $5.4 million

against Boeing, in addition to the previous $3.9 million penalty, this time relating to Boeing’s

installation of nonconforming slat tracks, also obtained from Spirit, on approximately 178 Boeing

737 MAX aircraft.

V.     FORMER SPIRIT EMPLOYEES CONFIRM THAT SPIRIT KNEW OF
       PERVASIVE QUALITY PROBLEMS, INCLUDING THE MIS-DRILLED HOLES
       DEFECT

       A.     Product and Process Verification Core Quality Auditor Joshua Dean
              Identified The Mis-Drilled Holes Defect Months Before It Was Publicly
              Disclosed

       55.    Joshua Dean was formerly employed by Spirit in Wichita, Kansas. Dean has a

mechanical engineering degree and approximately 20 years of experience. Dean was initially

employed by Spirit for approximately 1.5 years as a Liaison Engineer beginning in approximately

March 2019, and was let go in or about May 2020 during Spirit’s mass layoffs during the COVID

pandemic. Dean returned to Spirit on or about May 25, 2021 as a PPV [Product and Process

Verification] Core Quality Auditor, and held this position until on or about November 22, 2022,

when his role changed to Level 2 Stress Engineer, which remained his position until Spirit

terminated him on or about April 26, 2023.

       56.    As a PPV Core Quality Auditor, Dean performed audits on section 48 (extending

from approximately the aft pressure bulkhead to the tail end of the fuselage) of the 737 MAX

(“Section 48”). As a PPV Core Quality Auditor, Dean reported to Senior PPV Quality Manager

Jaime Hanson. Hanson in turn initially reported to Richard Cassube, Senior Manager, Quality

Engineering, Root Cause and Corrective Action, until Cassube’s role changed to Director of

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Quality in September 2022. Hanson then reported to Amie Emerson, Vice President, Core and

Supplier Quality. Dean believes that Emerson reported to Spirit’s executive team.

       57.     Dean noticed a significant deterioration in Spirit’s workforce after the mass layoffs

that Spirit carried out during the COVID pandemic. Dean states that Spirit laid off or voluntarily

retired a large number of senior engineers and mechanics, leaving a disproportionate number of

new and less experienced personnel. Dean estimates that whereas Spirit previously had about 80%

experienced mechanics and 20% inexperienced, those numbers are now approximately 60% and

40% respectively. Dean states Spirit had similar problems with inexperienced quality auditors and

inspectors. Dean believes this lack of experienced personnel negatively impacted the quality of

Spirit’s work, resulting in more rework and repairs that had to be performed.

       58.     According to Dean, based on his experiences working for the Company, Spirit has

a culture of not wanting to look for or to find problems, which has led to poor decisions about

quality and manufacturing issues.

       59.     When Dean first joined Spirit in approximately March 2019, Boeing had placed

Spirit on probation. Dean’s understanding is that the probation was due to Boeing finding many

defects in Spirit products, and that the probation lasted multiple years. Shortly after Dean rejoined

Spirit as a PPV Core Quality Auditor in May 2021, he was in meetings with PPV personnel where

his superior, Jaime Hanson, discussed Spirit’s probation. Hanson stated that Spirit was trying to

get off probation with Boeing, and that as conditions of exiting probation Boeing had demanded

Spirit decrease the amounts of defects in its products, implement the PPV program, and create

Visual Work Instructions (or “VWI”). In addition to the foregoing, Dean believes Boeing may

have given Spirit further requirements to exit probation. According to Dean, Spirit’s probation

with Boeing was common knowledge in Spirit’s PPV group.



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        60.     In Dean’s experience, Spirit did not in fact materially decrease the amounts of

defects in its products as required by Boeing, but simply undercounted or manipulated the

documentation of defects to create the appearance of quality improvement. Dean recalled that

Spirit threw pizza parties for operations personnel to celebrate purported reductions in defects, and

recalls discussing with other Spirit employees at these pizza parties that Spirit was just

undercounting defects instead of actually reducing defects. These pizza parties were led by Senior

Operations Director J. Ball, who was responsible for leading all operations managers for Spirit’s

737 program. The pizza parties were attended by operations personnel including first level and

second level managers. According to Dean, in or around November 2021 Spirit presented

information to Boeing showing a purported significant reduction in defect numbers as part of its

effort to exit probation.

        61.     In October 2022, while auditing Section 48, Dean identified the mis-drilled

bulkhead holes issue recently announced by Spirit. Dean began to alert people throughout Spirit

at that time.

        62.     From on or about October 1, 2022 until he left his auditor role around November

22, 2022, Dean’s primary focus, at the direction of his manager, Jaime Hanson, was conducting

and writing up the audit of Section 48. Dean worked with Spirit design engineer Jim Ruschen on

the Section 48 audit.

        63.     Dean wrote up and submitted to Hanson three audit findings identifying mis-drilled

holes on the aft pressure bulkhead (also referred to as the “1016 bulkhead” due to its location at

station 1016 of the fuselage) and related improper procedures being used by Spirit personnel.

        64.     First, Dean identified mis-drilled holes on the aft pressure bulkhead break rings.

The aft pressure bulkhead has two break rings, with one in front of the bulkhead and one behind,



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both forming a ring around the bulkhead at its maximum diameter. The break rings connect the

bulkhead to the fuselage, and they are connected to both the bulkhead and the skin of the fuselage

with fasteners. Dean observed mis-drilled holes where the break rings connect to the aft pressure

bulkhead.

       65.     Second, Dean identified an improper rework process being used by a mechanic to

attempt to fix misaligned holes on the pie webs of the aft pressure bulkhead. The pie webs are pie

slice-shaped sections that join together in a circle to form the rounded shape of the bulkhead. Dean

identified this issue when he saw a mechanic doing additional, unplanned drilling to try to line up

misaligned fastener holes on the pie webs.

       66.     Third, Dean identified that Spirit was not properly labelling the aft pressure

bulkhead break rings and certain other match drilled parts, which contributed to misalignment of

holes drilled on the break rings.

       67.     Dean believes that the mis-drilled holes issue recently announced by Spirit pertains

to both his audit findings concerning the break rings and the pie webs, because both involve mis-

drilled holes on the aft pressure bulkhead.

       68.     Dean identified the mis-drilled bulkhead holes defect at some point between

approximately October 5, 2022 and mid-October 2022. Upon identifying the defect, Dean

immediately reported it to Section 48 managers Sean McVickers and Justin Hoch, and to design

engineer Jim Ruschen, informing them that this was a very significant problem. Dean also

discussed these issues with Senior PPV Quality Manager Jaime Hanson, Senior Quality Manager

Steve Aubuchon, Manufacturing Engineering Manager Bruce Hysom, quality manager Michelle

Butler, PPV Core Quality Auditor Lance Thompson, and lead mechanic Chris Coons. Lance

Thompson and Dean sat next to each other, and held the same position as PPV Core Quality



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Auditors. As Dean worked on his audit and the mis-drilled bulkhead holes defect, he frequently

discussed the issue with Thompson and Ruschen.

       69.     Dean made a formal write up of the mis-drilled bulkhead holes defect, which he

completed between approximately October 17, 2022 and November 1, 2022, and submitted his

findings to Hanson. According to Dean, Spirit’s procedure for handling such reports required the

responsible parties for each part of the process at issue to be notified of the report and to submit

responses within 30 days to the relevant manager. Dean’s findings regarding the mis-drilled holes

defect were submitted to the design, planning, quality, and manufacturing departments for

response, and their responses would have been submitted to Hanson.

       70.     Dean stated that quality manager Michelle Butler, who reported to Senior Quality

Manager Steve Aubuchon, was responsible for addressing his mis-drilled bulkhead holes findings

for the quality department. Dean showed Butler the mis-drilled holes in the break rings and in the

pie webs.

       71.     Justin Hoch and Sean McVickers were also involved in responding to Dean’s mis-

drilled holes audit findings. At some point between approximately November 22, 2022 and

December 5, 2022, Hanson sent Dean to help Justin Hoch and Sean McVickers with their

responses to his audit findings. Dean told Justin Hoch that the mis-drilled holes defect was the

worst finding that Dean had made in his entire time in his auditor role.

       72.     From the beginning of Dean’s Section 48 audit on or about October 1, 2022,

Hanson wanted Dean to complete the audit before Dean’s transition to his new role as Level 2

Stress Engineer which was scheduled to take place on or about November 22, 2022. Hanson put

Dean on a tight schedule. Dean explained to Hanson that in order to complete the entire Section

48 audit before leaving his auditor position, he would need to work over 10-hour days and on the



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weekends. Hanson responded that Dean was not approved to work overtime and had to complete

the entire audit before starting his new position without working any overtime.

        73.     Dean conducted an audit of the part of Section 48 that contains the tail fin fittings,

approximately two to three weeks after he conducted the portion of the audit in which he found

the mis-drilled bulkhead holes defects. Dean did not identify the tail fin fittings defect at the time.

According to Dean, this was due in whole or in substantial part to the fact that Hanson did not

allow him to observe all relevant parts of the manufacturing process.

        74.     Roughly two months after Dean had submitted his report on the mis-drilled

bulkhead holes defect to Hanson, Dean again raised the issue with Hanson in an in-person

discussion in Hanson’s office, around the December 2022 holidays. Dean told Hanson that the

mis-drilled holes defect was the worst issue that he had found in one and a half years in his audit

role, and that it should be carefully investigated further.

        75.     Dean is informed that in mid-March 2023 Spirit found several parts with cracks,

and Director of Quality Richard Cassube called an emergency, closed door meeting with high-

ranking Spirit personnel to try to figure out what caused the cracks. This led Spirit to identify the

tail fin fittings defect. Although Dean was not present at this meeting, he is informed that persons

present included Cassube, Steve Aubuchon, Gregg Howard, and Aime Emerson.

        76.     After this meeting, Sean McVickers and Justin Hoch were assigned to remove and

check the tail fin fittings (also known as dagger fittings) on a sample of 10 production units. After

approximately one week this process revealed 4-5 cracks in the sample, i.e. roughly 40% of units

were affected, indicating that the issue was potentially widespread.

        77.     In late March 2023, Dean saw design engineers walking around carrying tail fin

fittings in their hands.



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        78.      Approximately 1.5 weeks after Dean saw design engineers carrying tail fin fittings,

in late March or early April 2023, RCCA [Root Cause and Corrective Action] Core Quality

Manager Gregg Howard had a meeting with Dean. Howard reported to Cassube at this time. This

meeting with Howard was the first time that Dean learned of the tail fin fitting defect. Howard

asked what Dean knew about the tail fin fitting defect from conducting his audit. Dean explained

to Howard that he did not identify that defect, and that one reason why that could be was he had

discovered the mis-drilled bulkhead holes defect shortly before conducting the portion of the audit

containing the tail fin fittings, and he was focused on the mis-drilled holes defect at the time due

to its high importance. Dean described the nature of the mis-drilled bulkhead holes defect to

Howard.

        79.      Approximately one week after meeting with Howard, Dean was called into a

meeting with Emerson and Hanson, who inquired about Dean’s audit of the part of Section 48

containing the tail fin fittings. Based on their questions at the meeting, Dean believed that he was

being set up to be fired. Dean discussed his concerns about this meeting with many people

including Howard, Ruschen, Thompson, and with Dean’s manager at the time, Stress Engineer

William Saguto, explaining that he felt he was being unfairly blamed for not identifying the tail

fin fittings issue.

        80.      Approximately one week after the meeting with Emerson and Hanson, Dean was

called into a meeting with Spirit’s Human Resources department. Spirit terminated Dean on or

about April 26, 2023. Because Dean was a unionized engineer he could only be fired for cause.

According to Dean, Spirit attempted to justify his termination on demonstrably false grounds that

Dean had falsified paperwork concerning his audit. Dean maintains that Spirit wrongly claimed

Dean never conducted an audit of the part of Section 48 that contains the tail fin fittings, and that



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Dean’s report indicating that he performed that part of the audit was therefore, supposedly, untrue.

Dean believes this false justification was a pretext to scapegoat and silence him, and to intimidate

other Spirit employees so that they would not speak out as Dean had done about the mis-drilled

bulkhead holes defect.

        81.     After Dean’s wrongful termination, in late May or in June 2023, a friend of Dean’s

who was then working as a panelization manager for Spirit informed him that Greg Howard had

visited the panelization department trying to figure out why certain parts were not lining up

correctly in the manufacturing process. Dean believes this to be related to Spirit’s investigation of

the mis-drilled bulkhead holes defect.

        82.     Dean believes that Boeing first identified the mis-drilled bulkhead holes defect

while disassembling fuselage parts in order to fix the tail fin fittings defect. The defectively

installed tail fin fittings are located in close proximity to the aft pressure bulkhead. Both are located

near station 1016 of the fuselage.

        B.      Quality Inspector Team Lead Former Employee 1 Notified Defendant
                Gentile Of Spirit’s Probation With Boeing And Efforts To Conceal Excessive
                Defects

        83.     Former Employee 1 (“FE1”) worked for Spirit in Wichita, Kansas for

approximately 12 years. For approximately 8 months, he worked as a quality manager. For the

majority of his time at Spirit, FE1 was an Inspector. FE1 served as a Team Lead for a group of

Inspectors, in which capacity he oversaw various processes at the “end of the line,” also known as

the “rail pit,” where Spirit finished working on products before shipping them to customers. This

included preparation for completed fuselages to be shipped to Boeing, and oversight for the “final

shake,” which is what Spirit called its final inspection before shipment to the customer. For at least

part of his time at Spirit, FE1 reported to first level manager Ryan Clark, who reported to second



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level manager Steve Aubuchon, who in turn reported to Senior Director of Quality Scott Grabon

(who held that position before it was assumed by Richard Cassube).

       84.     FE1 struggled with Spirit’s culture, which placed an emphasis on pushing out

product over quality. When FE1 identified a defect, he would often receive pushback from

production personnel and first level managers. For example, first level manager Robbin Ketterman

would become very frustrated, lose her temper, and yell if FE1 identified a defect. FE1 almost

always found “tags” (meaning significant defects that had to be fixed) on his final walk through a

completed fuselage. FE1 was told not to find “tags” at the end of the line, because Spirit just

wanted to ship its completed products as quickly as possible.

       85.     According to FE1, there was significant friction between Spirit’s quality inspectors

and the production department. Production frequently failed to check for and fix their own

mistakes as required, so when the quality department conducted inspections they often found many

defects. The numerous defects found during inspections complicated the quality inspectors’ task

and took considerable time to document, creating additional time pressures and friction with the

production teams. Production managers frequently pressured quality inspectors to simply approve

work even if it contained defects. If FE1 or other quality personnel refused to approve defective

work, production managers would complain to the quality inspector’s respective manager, who

would in turn assign other quality personnel to approve the defective work.

       86.     In FE1’s experience, the production department did not try to prevent problems,

but was just focused on pushing products out. This dynamic created an almost hostile environment

at Spirit, in which FE1 struggled, in the face of pushback from other Spirit employees, to get

defects documented properly. According to FE1, Spirit was primarily concerned with costs, and

did not want too many defects to be written up.



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       87.     FE1 also recalled problems arising due to Spirit’s failure to hire sufficient

personnel. FE1 attended a production managers’ meeting in which a manager advocated for Spirit

maintaining its output with fewer employees by analogizing to a situation in which a leg was

removed from a four-legged table, stating that people would simply adapt to using it as a three-

legged table. FE1 recalled that Spirit frequently pushed employees to “do more with less.”

According to FE1, he and other Spirit personnel repeatedly told managers that they needed to

promptly hire additional people for Spirit to be able to achieve its planned production rate

increases, but Spirit failed to hire the necessary people in time for FE1 and his colleagues to

properly train the new hires. FE1 also stated that Spirit experienced high turnover due to its hostile

environment and the excessive demands placed on its workers. Sometimes Spirit required

employees to work 12 to 18 hours in a row, and then come back to work again the following day.

For example, FE1 recalled working from Friday afternoon until Saturday morning.

       88.     In FE1’s experience, Spirit employees often rushed work and ignored defects to try

to save the Company money. FE1 recalled instances in which he was told that a fuselage had to be

shipped to the customer the same day, “no matter what.” Due to its rushed production process,

Spirit’s products frequently contained defects. FE1 informed Spirit coworkers that he believed it

was just a matter of time until a major defect escaped to a customer.

       89.     FE1 believes that there frequently are defects in Spirit products, due in part to the

pressure that Spirit puts on its employees. In FE1’s experience, Spirit treats moving products down

the line as more important than quality. FE1 stated that in his former employment at Cessna,

inspectors would not let a product continue moving through the production process with a defect,

whereas Spirit just tried to keep moving products through the process while trying to address

defects at the end of the line once the product was already assembled.



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       90.     FE1 recalled an instance when Spirit managers wanted him to combine two

different processes: the final inspection referred to internally at Spirit as the “final shake,” and the

foreign object debris (“FOD”) walk. FE1 believes that combining these two tasks was problematic

and not conducive to ensuring quality because doing so increases the likelihood that Spirit would

miss defects and FOD, which would then be present in products shipped to customers.

       91.     FE1 stated that issues such as FOD were routinely missed, with customers such as

Boeing providing frequent feedback about the occurrence of FOD in the delivered fuselages.

       92.     FE1 also recalled that, while Spirit had initially done a skin quality shake to inspect

the outer surface of a completed fuselage, at some point during his employment Spirit simply

stopped doing it because the process was so rushed. FE1 was told to just “look over” things rather

than actually “inspect” them, which he thought was ineffective and did not make sense.

       93.     FE1 stated that Boeing periodically conducted audits at Spirit, however FE1 viewed

these audits as “a joke” because Spirit was given advance notice of what would be audited and

when. As such, Spirit simply addressed any issues in the area and production units to be audited

shortly before the audit, thereby concealing the true extent of problems from Boeing.

       94.     FE1 recalled that beginning in approximately 2018 Boeing placed Spirit on

probation, due to the large number of escapements found in fuselages that Spirit shipped to Boeing.

Such escapements included commonly recurring issues such as FOD, missing fasteners, peeling

paint, and poor skin quality. These issues slowed down Boeing’s production process, as it had to

spend time identifying and fixing defects created by Spirit. That Boeing had put Spirit on probation

was widely known to employees in Spirit’s quality department, and FE1 believes that Spirit’s

leadership was likely aware of this as well. The probation was the subject of meetings at Spirit,

and exiting probation required Spirit to pass additional audits by Boeing.



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       95.     FE1 stated that during the probation, Spirit could not ship any product to Boeing

without the approval of a manager. Boeing also sent Spirit weekly or even daily emails with

PowerPoint presentations containing pictures of escapements that Boeing found on fuselages

received from Spirit. Boeing would send these emails to high level Spirit managers, and the

leadership of Spirit’s quality department would send the emails out to all quality managers and

some team leaders (such as FE1).

       96.     At a point after Spirit’s mass layoffs during the COVID pandemic, Ryan Clark

became FE1’s first level manager. Clark told FE1 that his second level manager, Steve Aubuchon,

did not want FE1 to document every defect he found, and did not want him to record the quantities

or precise locations of defects found, but rather to simply note that the broad fuselage “zone” in

question contains a defect. According to FE1 this violated rules and policies that required Spirit to

document a precise, 3-point location for all defects, and the precise quantity of such defects, so

that the defects could be traced through the production process and addressed as necessary.

       97.     Aubuchon discussed his request with FE1 at FE1’s desk, explaining it as an attempt

to save money, and said that it was coming from Aubuchon’s boss Scott Grabon. FE1 responded

that this was not the right thing to do and that Aubuchon was asking him to do things incorrectly.

Aubuchon told FE1 that if he refused to do as he was told, Aubuchon would fire him on the spot.

FE1 asked Aubuchon to put his request in writing. Aubuchon told FE1 that he would receive an

email from Clark (his direct superior).

       98.     On February 22, 2022, Clark emailed FE1 and his entire team relaying Aubuchon’s

request. FE1 responded to Clark, copying Aubuchon, as follows:

       I respect your direction and the team and I will follow the directions given as
       instructed however I would like to voice the way the team and my self feel about
       the situation. You are asking us to record in a inaccurately way the number of
       defects, using the zone box (that is for a drawing reference) will be asking us to

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       falsify the proper documentation with regards to the amount of defects being found
       on the plane. This make us and put us in a very uncomfortable situation where we
       have to question our integrity and our ability to follow directions.

       I find it unethical and in violation of FAA regulations along with the proper
       regulations in place by Spirit Aerosystems of properly documenting the amount of
       defects being found.

       We will follow the direction given to us but we are not comfortable with it.

A redacted copy of the email chain is attached as Exhibit 2.

       99.     Soon after FE1 sent this email, Aubuchon asked him to meet in Spirit’s quality

department conference room. In that meeting, Aubuchon demoted FE1 from his Team Lead

position. Shortly thereafter, FE1 heard from his team members that Aubuchon continued telling

them to log defects in the same incorrect manner.

       100.    Later on that same day, February 22, 2022, FE1 submitted an ethics complaint to

Spirit concerning this incident. FE1’s complaint stated:

       The inspection team and myself have been put on a very unethical place. As part of
       our process we are to find and document the defects we find on our daily tasks.
       There has been too much tension lately with managers and the amount of defects
       being found on our FOD walks that we were instructed by our leadership to write
       pickups properly with the correct number of defects as its written per our
       procedures.

       This has become an issue and has risen a very high level of attention due to the
       excessive amount of defects, today around 9 o’clock in the morning our manager
       Ryan Clark instructed us to change the way we wrote the defects and no longer
       document the amount of defects on the quantity box but change it and log it on the
       zone box which would be falsifying the documentation. I raised my concerns
       because this challenges our integrity because we are being asked to purposely
       record inaccurate information. As a team lead i asked my manager to please send a
       e-mail to inform this to the team because i felt uncomfortable to to instruct them
       the direction given.

       I have attached the email send out along with my response to the situation and
       around 12:45PM i was called to the office by Steve Aubuchon, in the conference
       room i was informed that i will be moved to pre-integration (different area) and that
       i will no longer be a team lead de to my inability to follow instructions and being
       border line subordinate at times. this was informed to me in the presence of second

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       level manager Jon Louia, and first level manager Paula Hall. this happened within
       minutes of my reply to the email reply i send about the direction of how we
       document our defects and feel like my leadership is retaliating towards me for
       trying to do the right thing and do what is best for my team. The whole inspection
       team in the shipping center is involved and can concur with what i have said and
       will appreciate with the support being presented to us.

A redacted copy of FE1’s ethics complaint is attached as Exhibit 3.

       101.     After days and weeks passed with no action taken on his complaint, on Thursday

March 10, 2022, FE1 followed up through Spirit’s ethics complaint system to request an update,

and was told that they planned to “wrap it up” that week. See Exhibit 3. When FE1 still received

no response, he came to believe that Spirit’s human resources department was dragging its feet

and trying to sweep his complaint under the rug.

       102.     On Wednesday March 16, 2022, FE1 emailed Defendant Gentile, with the subject

line “Failure to Follow Company Policies,” explaining the situation and attaching a copy of his

ethics complaint. FE1 wrote:

       Hello,

       I am reaching out about clarification of the policies in place. Everywhere I go
       throughout the factory I see signs about “Quality Matters” and if there is something
       wrong to stop and raise a concern, however recently I been reprimanded for doing
       my job correctly accordingly to the policies in place. PRO-4005, POL-1271 support
       my allegations. and I have attached the reports I have made to HR in an attempt to
       call for help. It’s been three weeks since the compliance was filed and i have not
       seen any response. Since then I been stripped from my team lead position and my
       team has been left intimidated and without a voice to speak up. I reached out to the
       investigator from HR and she is out for this whole week, mean while everything is
       a a stand still.

       This is my last resort and I apologize to take time out of your busy schedule but I
       have lost faith on the quality organization here at spirit and this is my last cry for
       help into resolving this issue that violates the guide lines stablished by the AS9100
       which governs our certification to build aircraft and which has been in question and
       even put on probation by Boeing on previous years. If I cannot do my job according
       to the policies in place then change them so I can perform my job within the
       guidelines in place.



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          I also know that and internal audit was reported that confirms what i stood up for
          yet the information has not been passed down?

          Thank you for your time and help!

A redacted copy of FE1’s email to Defendant Gentile is attached as Exhibit 4.

          103.   Defendant Gentile replied to FE1’s email a few days later, thanking him for raising

his concerns, and copying Spirit’s Human Resources leader. About one month after that, FE1 was

told that the allegations in his ethics complaint were sustained, his prior position was reinstated,

and he was given backpay. After FE1’s return to his prior position, Aubuchon tried to avoid talking

to him.

          104.   Similar to the above-described incident with Steve Aubuchon, FE1 recalled an

instance where a second level manager Mahmoud Hamed told inspectors not to write up defects.

          105.   Around July 2022 FE1 gave notice that he would leave Spirit, and left shortly

thereafter. FE1 remained in touch with the team members he had led at the end of the line. They

informed him that after his departure, Sprit moved them to different positions, because they tried

to find too many defects.

          C.     Internal Quality Auditor Former Employee 2 Observed Quality Problems
                 Including Many Mechanics Using Out-Of-Calibration Tools

          106.   Former Employee 2 (“FE2”) was employed by Spirit as an Internal Quality Auditor

in Wichita, Kansas from October 2017 to February 2021. FE2 reported to First Level Manager

Tina Leep, who in turn reported to Production Line Manager (which position was also known in

Spirit as a Second Level Manager) Garrett Powell. Powell reported to Senior Director of Global

Quality Marki Huston. As an Internal Quality Auditor, FE2 conducted audits on Spirit’s production

process for sections of 737s and other aircraft. At the beginning of FE2’s tenure at Spirit FE2

worked in Spirit’s commercial aircraft segment, and was assigned to the defense aircraft segment

in Spring 2020.
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       107.    When FE2 joined Spirit in 2017, it was still trying to figure out how its internal

audit function should operate. Auditors were overworked and spread thin, which led to significant

frustration. Spirit would also conduct minor tweaks to the audit process, further complicating the

audit process. These problems persisted throughout FE2’s time at Spirit.

       108.    According to FE2, the mechanics who performed Spirit’s manufacturing were also

overworked. Mechanics were repeatedly required to work mandatory weekend overtime, and 60-

70 hour weeks, which angered many mechanics.

       109.    In the role of Internal Quality Auditor, FE2 received assignments from his manager

Leep to observe specific parts of the manufacturing process. FE2 would then go to the relevant

area of Spirit’s manufacturing facility, introduce himself to the mechanics and their manager, and

explain that he would be observing the specified process. FE2 was required to compile reports of

his observations in Power Point form including photographs.

       110.    During FE2’s time auditing different aspects of the manufacturing process, FE2

encountered issues in multiple parts of the production process.

       111.    FE2 recalled that auditors repeatedly found torque wrenches in mechanics’

toolboxes that were not properly calibrated. This was potentially a serious problem, as a torque

wrench that is out of calibration may not torque fasteners to the correct levels, resulting in over-

tightening or under-tightening that could threaten the structural integrity of the parts in question.

       112.    After auditors found a significant number of out-of-calibration torque wrenches,

Spirit required FE2 and other auditors to audit mechanics’ toolboxes and to remove any out-of-

calibration tools, which angered some mechanics whose tools were taken, as well as their

managers. Some mechanics would not even let auditors take such out-of-calibration tools, locking

toolboxes or yanking them back out of the auditors’ hands to prevent the audit. The mechanics’



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first level managers did not like the toolbox audit because it disrupted production. In some

instances, Production Line Managers had to get involved to enable the auditors to complete their

work.

        113.   This toolbox audit took place over several weeks in 2019. FE2 estimates that

approximately 1,200-1,400 toolboxes were audited, and that well over 100 torque wrenches were

found that were out of calibration. The toolbox audit also revealed other problematic findings in

violation of Spirit rules, such as food being stored in toolboxes, and mechanics hiding aircraft parts

in their toolboxes. Four of the eight or nine auditors on FE2’s team were assigned to work on the

toolbox audit, as well as many other Spirit employees. The significant time spent on this audit

meant that certain other audits at Spirit had to be postponed.

        114.   FE2 observed multiple instances of Spirit employees failing to perform their work

as required. For example, in 2018 or 2019 FE2 observed a mechanic installing a bracket in Section

41 (the forward portion of the fuselage, from the nose to the aft of the cockpit). A quality inspector

then came to check the work, but merely looked up at the bracket from 3.5-4 feet away, for about

two seconds, and then signed off on the work. This was inadequate to inspect the work performed,

and FE2 inquired of the quality inspector whether he was going to inspect the work. The inspector

responded that he already had performed his inspection. FE2 reported this incident to superiors.

        115.   As another example, FE2 recalled an instance in which he was inspecting the nose

of an assembled fuselage just prior to its shipment via train to Boeing. FE2 found a large amount

of foreign object debris in the fuselage such as metal shavings, rags, paper towels, rivets, and other

items. FE2 found it alarming that the fuselage contained so much debris and was about to be

shipped to Boeing.




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        116.    As yet another example of Spirit employees failing to perform their work as

required, FE2 observed a mechanic drilling a hole for a fuselage floor beam. Such holes must be

drilled straight, but the mechanic was drilling at an angle, which can make a rivet placed in such

an improperly drilled hole not properly secured. FE2 took pictures of the defective drilling and

reported his findings, however months later he witnessed the same mechanic repeating this

improper angled drilling.

        117.    FE2 was provided with insufficient direction about how to perform his work.

Although FE2 was assigned to defense in Spring 2020, he was on medical leave from May-

November 2020, and so November 2020 was effectively the beginning of his work in the defense

area. In or around November 2020, FE2 requested support and guidance on how to conduct audits

in the defense area, where he had been put in charge of setting up audit programs despite his limited

experience with such work. Spirit sent an experienced employee, Doug Helms, to assist FE2, but

Helms stopped providing support to FE2 after approximately one week. FE2 did not believe this

was sufficient. While FE2 found Helms’s support useful, FE2 estimates that at least a month of

support would have been necessary for him to properly learn the role. FE2 again requested support

from Spirit, but did not receive any. Within the next few weeks FE2 gave notice that he would

leave Spirit.

        118.    FE2’s decision to leave Spirit was due in part to Spirit’s failure to provide sufficient

training for him to perform his work. His decision was also due in part to Spirit’s culture in which

some employees did not care about the quality of their work, did not perform their work with

integrity, and did not attempt to fix known problems. On multiple occasions, such as those

described above, FE2 witnessed Spirit employees exhibiting blatant disregard for the safety and

structural integrity of the aircraft they were working on. In FE2’s experience, when he spoke up



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to identify problems, not much changed at Spirit, which also contributed to his decision to leave

the company.

VI.     DEFENDANTS KNEW OF BUT CONCEALED MATERIAL FACTS
        REGARDING SPIRIT’S QUALITY FAILURES

        119.    Throughout the Class Period, Defendants knew, but failed to disclose to investors,

material information that created substantial risks for Spirit’s business. Defendants failed to

disclose that: (1) Spirit identified mis-drilled holes on the 737 MAX aft pressure bulkhead months

before this issue was disclosed to investors; and (2) Spirit suffered from severe and persistent

quality problems which led Boeing to place Spirit on probation. These undisclosed facts severely

undermined Defendants’ misleading public statements during the Class Period, that emphasized

the quality and safety of Spirit’s products.

        A.      Spirit Identified The Mis-Drilled Holes Defect Months Before It Was
                Disclosed To Investors

        120.    As discussed above in Section V.A, in October 2022 former Product and Process

Verification Core Quality Auditor Joshua Dean identified that Spirit had mis-drilled holes on the

737 aft pressure bulkhead and that this was a very significant problem. However, Spirit concealed

this issue from investors until it was revealed by independent reporting in August 2023, ten months

after Spirit had identified it.

        121.    Dean reported the mis-drilled aft pressure bulkhead holes defect in writing and/or

in person to multiple other Spirit employees and managers including Section 48 managers Sean

McVickers and Justin Hoch, design engineer Jim Ruschen, Senior PPV Quality Manager Jaime

Hanson, Senior Quality Manager Steve Aubuchon, Manufacturing Engineering Manager Bruce

Hysom, quality manager Michelle Butler, PPV Core Quality Auditor Lance Thompson, and lead

mechanic Chris Coons.



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       122.    Notwithstanding that Dean had repeatedly raised the mis-drilled aft pressure

bulkhead holes defect with multiple Spirit employees and managers over a period of several

months, repeatedly stressing its importance, Spirit did not disclose this defect to the public until

August 23, 2023, after The Air Current published an article, after the close of stock market trading,

titled “Boeing and Spirit Grapple With Newly Discovered 737 MAX Quality Issue.” The article

quoted a statement provided by Boeing stating that “we identified fastener holes that did not

conform to our specifications in the aft pressure bulkhead on certain 737 airplanes.” Later that

same day, in response to The Air Current’s article and subsequent reporting, Spirit issued a press

release confirming that “[w]e are aware of a quality issue involving elongated fastener holes on

the aft pressure bulkhead on certain models of the 737 fuselage produced by Spirit AeroSystems.”

When Spirit’s stock resumed trading the following day, its share price promptly fell by 12.7% on

unusually heavy trading volume.

       B.      Spirit Suffered From Severe Quality Problems Which Led Its Key Customer
               Boeing To Place Spirit On Probation

       123.    As discussed above in Section V, both Joshua Dean and Quality Inspector Team

Lead Former Employee 1 noted widespread quality problems at Spirit. Both Dean and FE1 stated

that the quality problems rose to such a level that Boeing placed Spirit on probation, demanding

that Spirit decrease defects in its products and implement quality safeguards. FE1 directly reported

these issues to Defendant Gentile in March 2022, after Spirit had failed to act on his internal ethics

complaint. However, Spirit concealed its persistent quality problems and its Boeing probation from

investors. The risks created by Spirit’s concealment of widespread quality problems materialized

in the tail fin fittings defect, the aft pressure bulkhead mis-drilled holes defect, and the negative

consequences of those defects for Spirit’s business.




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       124.    Dean and FE1 both confirmed that the high number of defects in Spirit products led

Boeing to place it on probation. FE1 recalled that beginning in approximately 2018 Boeing placed

Spirit on probation, due to the large number of defects in its products, such as the presence of FOD,

missing fasteners, peeling paint, and poor skin quality. Dean recalled that, in order to exit

probation, Boeing demanded Spirit decrease the amounts of defects in its products, implement the

PPV program, and create Visual Work Instructions. FE1 stated that exiting probation required

Spirit to pass additional audits by Boeing, and that during the probation Spirit could not ship any

product to Boeing without the approval of a manager. Spirit remained on probation with Boeing

through at least May 2021 when Dean attended meetings where his manager Jaime Hanson

discussed Spirit’s ongoing efforts to exit probation. According to Dean and FE1, Spirit’s probation

with Boeing was common knowledge in their respective PPV and quality departments.

       125.    Documents published by Boeing confirm the seriousness of a decision to place a

supplier such as Spirit on probation. Boeing maintains a website to provide information for its

suppliers (https://www.boeingsuppliers.com/), including information about quality requirements.

This website contains a FAQ list (https://www.boeingsuppliers.com/supplier/supplierconf/faq-

addendum1.html), including the following question and answer:

       What if the supplier does not meet the minimum Addendum 1 requirements when
       they are contractually obligated to do so?

       In order of increasing severity: the Boeing representative could write a Supplier
       Evaluation Report (SER) requiring corrective action within 30 days; Addendum 1
       could be removed from supplier contracts, and the supplier would be ineligible to
       bid on or perform work for which Addendum 1 is required; the supplier could be
       put on probation; the supplier could be withdrawn.

The Boeing website’s “Supplier Quality” page (https://www.boeingsuppliers.com/quality.html)

describes “Addendum 1” as an addendum to the Boeing Quality Management System

Requirements for Suppliers, which “describes a process for managing the variation of key

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characteristics (KC),” and “includes requirements that emphasize establishing both statistical

control and capability of KCs, identification of improvement opportunities, and implementation

of improvement actions.” As such, a supplier’s failure to meet Boeing’s quality requirements can

result in a series of escalating consequences, of which probation is the last before “the supplier

could be withdrawn” for continued failures.

           C.     Executives, Including Defendant Gentile, Were Informed of Defects and
                  Knew of Pervasive Quality Issues

           126.   Notwithstanding the severity of Boeing’s decision to place Spirit on probation,

Spirit continued to tolerate defects and to attempt to conceal them from customers. In Dean’s

experience, Spirit did not in fact materially decrease the amounts of defects in its products as

required by Boeing, but simply undercounted or manipulated the documentation of defects to

create the appearance of quality improvement. This is consistent with FE1’s experience, when, in

February 2022, FE1 was instructed to falsely undercount defects.

           127.   FE1 voiced his concerns to his superiors Ryan Clark and Steve Aubuchon, stating

in part:

           You are asking us to record in a inaccurately way the number of defects, using the
           zone box (that is for a drawing reference) will be asking us to falsify the proper
           documentation with regards to the amount of defects being found on the plane. This
           make us and put us in a very uncomfortable situation where we have to question
           our integrity and our ability to follow directions.

           I find it unethical and in violation of FAA regulations along with the proper
           regulations in place by Spirit Aerosystems of properly documenting the amount of
           defects being found.

See Exhibit 2.

           128.   Soon after FE1 sent that email, Aubuchon demoted FE1 from his Team Lead

position. On the same day, FE1 submitted an internal ethics complaint that stated in part:

           The inspection team and myself have been put on a very unethical place. As part of
           our process we are to find and document the defects we find on our daily tasks. . .
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       This has become an issue and has risen a very high level of attention due to the
       excessive amount of defects, today around 9 o’clock in the morning our manager
       Ryan Clark instructed us to change the way we wrote the defects and no longer
       document the amount of defects on the quantity box but change it and log it on the
       zone box which would be falsifying the documentation. I raised my concerns
       because this challenges our integrity because we are being asked to purposely
       record inaccurate information. . .

See Exhibit 3.

       129.      After weeks passed with no action taken on his ethics complaint, on March 16,

2022, FE1 emailed Defendant Gentile, attaching his ethics complaint. FE1 further informed

Gentile that:

       I have lost faith on the quality organization here at spirit and this is my last cry for
       help into resolving this issue that violates the guide lines stablished by the AS9100
       which governs our certification to build aircraft and which has been in question and
       even put on probation by Boeing on previous years.

See Exhibit 4. AS9100 is the widely adopted and standardized international quality management

system standard for the aviation industry, created by the Society of Automotive Engineers

(“SAE”). The standard provides suppliers with requirements for creating and maintaining a

comprehensive quality system for providing safe and reliable products. Boeing requires suppliers

such as Spirit to comply with AS9100.

       130.      Defendant Gentile replied to FE1’s March 16, 2022 email, and the allegations in

FE1’s ethics complaint were subsequently sustained by Spirit. Therefore, while Defendant Gentile,

as Spirit’s CEO, President and Director, was almost certainly already aware of Spirit’s excessive

defects, failure to follow quality requirements, and Boeing probation prior to receiving FE1’s

email, by no later than March 16, 2022 he was informed of those facts.

       131.      Notwithstanding Defendants’ knowledge that Spirit suffered from severe and

persistent quality problems which led Boeing to place Spirit on probation, Defendants never



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disclosed this information to investors. Instead, Defendants’ public statements misleadingly

emphasized the quality and safety of Spirit’s products. The risks created by Spirit’s concealment

of widespread quality problems materialized in the tail fin fittings defect and the aft pressure

bulkhead mis-drilled holes defect. Spirit’s stock price promptly fell by large amounts when these

defects, and their financial impacts, became known to investors.

VII.    MATERIALLY FALSE AND MISLEADING STATEMENTS ISSUED DURING
        THE CLASS PERIOD

        132.    Defendants made numerous, similar statements over the Class Period, that

misleadingly misrepresented and/or omitted to disclose that: (1) Spirit identified mis-drilled holes

on the 737 MAX aft pressure bulkhead months before this issue was disclosed to investors; and

(2) Spirit suffered from severe and persistent quality problems which led Boeing to place Spirit on

probation. For the sake of brevity, Plaintiffs only allege herein certain key and/or representative

misleading statements.

        A.      April 8, 2020 Press Release Regarding COVID Response

        133.    The Class Period begins on April 8, 2020. On that day Spirit issued a press release

titled “Spirit AeroSystems’ Actions in Response to COVID-19,” and filed with the SEC a Form 8-

K including a copy of the press release.

        134.    The press release identified various cost reductions implemented by Spirit:

        In light of the 737 MAX production suspension that began on January 1, 2020,
        Spirit initiated the following actions to reduce costs:
            • Implemented workforce reductions of 2,800 employees in Wichita, Kansas
                and 400 employees in Oklahoma
            • Initiated a voluntary retirement program for 850 hourly and salaried
                workers

                                           *     *       *

        To further reduce costs due to the economic impact of the COVID-19 pandemic
        and related production suspension, Spirit has taken the following additional actions:


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                                              *       *       *

                •   Initiated a 21 calendar-day furlough of production workers and managers
                    supporting Boeing programs in Wichita, Kansas and Oklahoma
                •   Implemented a four-day work week for its salaried workforce at its Wichita,
                    Kansas facility until further notice

           135.     The press release further stated that “Spirit has taken the actions highlighted above

to reduce costs and preserve its liquidity in this unprecedented time, while also working to

maintain the health and viability of its supply chain to support operations post-production

suspension.”2

           136.     The above statements identified in ¶¶134-135 were materially false and/or

misleading, and/or failed to disclose material adverse facts because, as Defendants knew or

recklessly disregarded, the mass layoffs and similar measures described in the press release resulted

in Spirit’s loss of many experienced mechanics and quality personnel, thereby posing a significant

risk to Spirit’s ability to maintain operations to support is customers, and to maintain the health and

viability of its supply chain.

           B.       May 6, 2020 Quarterly Report For the First Quarter of 2020

           137.     On May 6, 2020 Spirit filed with the SEC its quarterly report for the first quarter of

2020 on Form 10-Q. The quarterly report was signed by Defendant Suchinski.

           138.     The quarterly report included as exhibits signed certifications from Defendants

Gentile and Suchinski pursuant to the Sarbanes-Oxley Act of 2002, stating in relevant part that “I

have reviewed this Quarterly Report on Form 10-Q of Spirit AeroSystems Holdings, Inc.,” and

“Based on my knowledge, this report does not contain any untrue statement of a material fact or

omit to state a material fact necessary to make the statements made, in light of the circumstances




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     Bolded, italicized statements in Sections VII-VIII indicate that emphasis has been added.
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under which such statements were made, not misleading with respect to the period covered by

this report.”

         139.   The above statements identified in ¶138 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, the quarterly report contained the below-detailed misstatements and omissions, which

were materially false and misleading for the reasons set forth below.

         140.   The quarterly report under the heading “Item 1A. Risk Factors” and the sub-heading

“Our business depends on our ability to maintain a healthy supply chain and timely deliver products

that meet or exceed stringent quality standards, which are negatively impacted by the COVID-19

pandemic,” stated in part:

         Our business depends on our ability to maintain a healthy supply chain, achieve
         planned production rate targets, and meet or exceed stringent performance and
         reliability standards. The supply chain for large commercial aerostructures is
         complex and involves hundreds of suppliers and their technical employees from all
         over the world.

         Operational issues, including delays or defects in supplier components relating
         to government mandated production shutdowns or otherwise, could result in
         significant out-of-sequence work and increased production costs, as well as
         delayed deliveries to customers. Our suppliers’ failure to provide parts on a timely
         basis or to provide parts that meet our technical specifications could have a
         materially adverse effect on production schedules, contract performance, and
         contract profitability.

         141.   The above statements identified in ¶140 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit did not “timely deliver products that meet or exceed stringent quality standards,”

but routinely delivered products that failed to meet quality standards, and this had already led

Spirit’s main customer, Boeing, to place Spirit on probation. These statements were additionally




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misleading for presenting defects and quality failures as mere hypothetical risks, and solely relating

to “supplier components,” when Spirit itself routinely experienced defects and quality failures.

        142.    Spirit’s First Quarter 2020 Form 10-Q was also materially misleading for failing to

provide disclosures required by Item 105 (17 C.F.R. § 229.105) and Item 303 (17 C.F.R. § 229.303)

of SEC Regulation S-K.

        143.    Item 105 of Regulation S-K requires public companies like Spirit to “provide under

the caption ‘Risk Factors’ a discussion of the material factors that make an investment in the

registrant or offering speculative or risky,” and to “explain how each risk affects the registrant or

the securities being offered.” 17 C.F.R. § 229.105. Public companies are required to provide this

information in their 10-Ks and 10-Qs.

        144.    In violation of Item 105, Defendants failed to disclose in Spirit’s First Quarter 2020

Form 10-Q that Spirit suffered from severe and persistent quality problems which led Boeing to

place Spirit on probation. This was a material factor that made an investment in Spirit speculative

or risky. Such persistent quality problems and probation created risks of future repair costs and

lost business, and Boeing was at all times Spirit’s most important customer, accounting for over

half of revenues.

        145.    Item 303 of SEC Regulation S-K requires public companies like Spirit to

“[d]escribe any known trends or uncertainties that have had or that are reasonably likely to have a

material favorable or unfavorable impact on net sales or revenues or income from continuing

operations,” and to “[i]dentify any known trends or any known demands, commitments, events or

uncertainties that will result in or that are reasonably likely to result in the registrant’s liquidity

increasing or decreasing in any material way.” 17 C.F.R. § 229.303(b)(1)-(2). This discussion

“must focus specifically on material events and uncertainties known to management that are



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reasonably likely to cause reported financial information not to be necessarily indicative of future

operating results or of future financial condition.” 17 C.F.R. § 229.303(a). Public companies are

also required to provide this information in their 10-Ks and 10-Qs.

           146.   Defendants’ failure to disclose in Spirit’s First Quarter 2020 Form 10-Q that Spirit

suffered from severe and persistent quality problems which led Boeing to place Spirit on probation

also violated Item 303. The possibility of future repair costs and lost business due to such quality

failures were known uncertainties likely to result in material decreases in Spirit’s net sales,

revenues, income from continuing operations, and liquidity.

           C.     February 25, 2021 Annual Report for 2020

           147.   On February 25, 2021 Spirit filed with the SEC its annual report for 2020 on Form

10-K. The annual report was signed by Defendants Gentile and Suchinski.

           148.   The annual report included as exhibits signed certifications from Defendants

Gentile and Suchinski pursuant to the Sarbanes-Oxley Act of 2002, stating in relevant part that “I

have reviewed this Annual Report on Form 10-K of Spirit AeroSystems Holdings, Inc.,” and “Based

on my knowledge, this report does not contain any untrue statement of a material fact or omit to

state a material fact necessary to make the statements made, in light of the circumstances under

which such statements were made, not misleading with respect to the period covered by this

report.”

           149.   The above statements identified in ¶148 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, the annual report contained the below-detailed misstatements and omissions, which

were materially false and misleading for the reasons set forth below.




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        150.    The annual report, under the heading “Our business depends on our ability to

maintain a healthy supply chain, meet production rate requirements, and timely deliver products

that meet or exceed stringent quality standards”, stated in relevant part:

        Our business depends on our ability to maintain a healthy supply chain, achieve
        planned production rate targets, and meet or exceed stringent performance and
        reliability standards. The supply chain for large commercial aerostructures is
        complex and involves hundreds of suppliers and their technical employees from all
        over the world.

        Operational issues, including delays or defects in supplier components, could result
        in significant out-of-sequence work and increased production costs, as well as
        delayed deliveries to customers. Our suppliers’ failure to provide parts that meet
        our technical specifications could materially adversely affect production schedules
        and contract profitability. We may not be able to find acceptable alternatives, and
        any such alternatives could result in increased costs for us and possible forward
        losses on certain contracts. Even if acceptable alternatives are found, the process of
        locating and securing such alternatives might be disruptive to our business and
        might lead to termination of our supply agreements with our customers.

                                           *      *       *

        Additionally, the Company’s ability to meet production rate increases is dependent
        upon several factors, including expansion and alignment of its production facilities,
        tooling, and equipment; improved efficiencies in its production line; on-time
        delivery of component parts from the Company’s suppliers; adequate supply of
        skilled labor; and implementation of customer customizations upon demand. If the
        Company fails to meet the quality or delivery expectations or requirements of its
        customers, disruptions in manufacturing lines could result, which could have a
        material adverse impact on the Company’s ability to meet commitments to its
        customers and on its future financial results.

        151.    The above statements identified in ¶150 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit did not “timely deliver products that meet or exceed stringent quality standards,”

but routinely delivered products that failed to meet quality standards, and this had already led

Spirit’s main customer, Boeing, to place Spirit on probation. These statements were additionally

misleading for presenting defects and quality failures, or Spirit’s “fail[ure] to meet the quality or



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delivery expectations or requirements of its customers” as mere hypothetical risks, when Spirit

routinely experienced defects and quality failures, and failed to meet the quality expectations of its

customers including Boeing.

        152.    Spirit’s Annual Report for 2020 on Form 10-K was also materially misleading for

failing to provide disclosures required by Item 105 and Item 303 of SEC Regulation S-K.

        153.    In violation of Item 105, Defendants failed to disclose in Spirit’s Annual Report for

2020 on Form 10-K that Spirit suffered from severe and persistent quality problems which led

Boeing to place Spirit on probation. This was a material factor that made an investment in Spirit

speculative or risky. Such persistent quality problems and probation created risks of future repair

costs and lost business, and Boeing was at all times Spirit’s most important customer, accounting

for over half of revenues.

        154.    Defendants’ failure to disclose in Spirit’s Annual Report for 2020 on Form 10-K

that Spirit suffered from severe and persistent quality problems which led Boeing to place Spirit on

probation also violated Item 303. The possibility of future repair costs and lost business due to such

quality failures were known uncertainties likely to result in material decreases in Spirit’s net sales,

revenues, income from continuing operations, and liquidity.

        D.      June 17, 2021 Sustainability Report

        155.    On June 17, 2021 Spirit published a press release titled “Spirit AeroSystems

Publishes First Sustainability Report,” which contained a link to a document titled “2020 Spirit

AeroSystems Sustainability Report.”

        156.    Spirit’s 2020 Sustainability Report stated under the heading “Products”:

        Spirit is dedicated to the production of high quality and safe products for our
        customers and ultimately the end user.

                                           *       *       *


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        To ensure impeccable product quality and safety, Spirit has a dedicated Quality
        Department that uses a variety of assessment and audit tools.

        157.    The above statements identified in ¶156 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit prioritized costs and production numbers over quality, and far from ensuring

“impeccable product quality,” Spirit suffered from severe and persistent quality problems which

led Boeing to place Spirit on probation.

        158.    Spirit’s 2020 Sustainability Report stated under the heading “Due Diligence

Procedures”:

        Spirit is dedicated to a Zero‑Defect target, with no escapements to our customers.
        To ensure product quality and safety, daily compliance audits are conducted
        internally, while independent organizations review items that could negatively
        affect safety and quality, including Foreign Object Debris, Product Protection,
        Proper Tools (calibrated, inspected, and safe to use), and conformance to Spirit’s
        standard work instructions and regulatory requirements. These audits are
        completed in partnership with our customers to provide real‑time feedback.

        159.    The above statements identified in ¶158 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit suffered from severe and persistent quality problems, including the routine

presence of Foreign Object Debris, which led Boeing to place Spirit on probation. These statements

were further false and misleading because Spirit actively undermined customer audits of Spirit by

concealing defects from Boeing during its audits.

        E.      February 15, 2022 Annual Report for 2021

        160.    On February 15, 2022 Spirit filed with the SEC its annual report for 2021 on Form

10-K. The annual report was signed by Defendants Gentile and Suchinski.

        161.    The annual report included as exhibits signed certifications from Defendants

Gentile and Suchinski pursuant to the Sarbanes-Oxley Act of 2002, stating in relevant part that “I


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have reviewed this Annual Report on Form 10-K of Spirit AeroSystems Holdings, Inc.,” and “Based

on my knowledge, this report does not contain any untrue statement of a material fact or omit to

state a material fact necessary to make the statements made, in light of the circumstances under

which such statements were made, not misleading with respect to the period covered by this report.”

         162.       The above statements identified in ¶161 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, the annual report contained the below-detailed misstatements and omissions, which

were materially false and misleading for the reasons set forth below.

         163.       The annual report, under the heading “Item 1A. Risk Factors” and the sub-heading

“Our business depends on our ability to maintain a healthy supply chain, meet production rate

requirements, and timely deliver products that meet or exceed stringent quality standards”, stated

in relevant part:

         Our business depends on our ability to maintain a healthy supply chain, achieve
         planned production rate targets, and meet or exceed stringent delivery, performance
         and reliability standards. The supply chain for large commercial aerostructures is
         complex and involves hundreds of suppliers and their technical employees from all
         over the world.

         Operational issues, including delays or defects in supplier components, have
         resulted and could continue to result in significant out-of-sequence work and
         increased production costs, as well as delayed deliveries to customers. Our
         suppliers’ failure to provide parts that meet our technical specifications could
         materially adversely affect production schedules and contract profitability. We may
         not be able to find acceptable alternatives, and any such alternatives could result in
         increased costs for us and possible forward losses on certain contracts. Even if
         acceptable alternatives are found, the process of locating and securing such
         alternatives might be disruptive to our business and might lead to termination of
         our supply agreements with our customers.

                                            *       *      *

         Additionally, the Company’s ability to meet production rate increases is dependent
         upon several factors, including expansion and alignment of its production facilities,
         tooling, and equipment; improved efficiencies in its production line; on-time

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        delivery of component parts from the Company’s suppliers; adequate supply and
        costs of skilled labor; and implementation of customer customizations upon
        demand. From time-to-time the Company has experienced, and may continue to
        experience, quality or delivery timing disruptions. This includes common carrier
        disruptions and other disruptions that affect manufacturing lines, any of which
        could have a material adverse impact on the Company’s ability to meet
        commitments to its customers and on its future financial results.

        164.    The above statements identified in ¶163 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit did not “timely deliver products that meet or exceed stringent quality standards,”

but routinely delivered products that failed to meet quality standards, and this had already led

Spirit’s main customer, Boeing, to place Spirit on probation. These statements were additionally

misleading for stating that “[f]rom time-to-time the Company has experienced, and may continue

to experience, quality or delivery timing disruptions,” when Spirit routinely experienced quality

failures and continued to do so.

        165.    Spirit’s Annual Report for 2021 on Form 10-K was also materially misleading for

failing to provide disclosures required by Item 105 and Item 303 of SEC Regulation S-K.

        166.    In violation of Item 105, Defendants failed to disclose in Spirit’s Annual Report for

2021 on Form 10-K that Spirit suffered from severe and persistent quality problems which led

Boeing to place Spirit on probation. This was a material factor that made an investment in Spirit

speculative or risky. Such persistent quality problems and probation created risks of future repair

costs and lost business, and Boeing was at all times Spirit’s most important customer, accounting

for over half of revenues.

        167.    Defendants’ failure to disclose in Spirit’s Annual Report for 2021 on Form 10-K

that Spirit suffered from severe and persistent quality problems which led Boeing to place Spirit on

probation also violated Item 303. The possibility of future repair costs and lost business due to such



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quality failures were known uncertainties likely to result in material decreases in Spirit’s net sales,

revenues, income from continuing operations, and liquidity.

        F.      March 2, 2022 Investor Day

        168.    On March 2, 2022 Spirit hosted its 2022 Investor Day, giving a presentation and

responding to analyst questions.

        169.    During the Investor Day presentation, Samantha J. Marnick, Spirit’s Executive VP,

President of Commercial Division, and COO, stated:

        While it goes without saying safety, we’ve got to keep our employees safe, and
        we’ve got to have our products safe. So safety is paramount, but quality is, too. It
        goes without saying in our industry.

        But then second, with this coming back from the times that we’ve been in, our
        customers quite rightly, and their customers have a much higher bar in terms of
        the quality expectations. And that means a lot of new thinking around what are
        the processes and technologies that we can apply to ensure that rate executes
        flawlessly. We spent a lot of time during the downturn getting ready for the next lot
        of rate increases. Frankly, we learned a lot from before when we had the NG and
        we had the MAX kicking in, we were in high 50s rate.

        170.    The above statements identified in ¶169 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit did not treat quality as paramount, but prioritized costs and production numbers.

These statements were further misleading because, far from ensuring that Spirit could “execute[]

flawlessly” an increased production rate, Spirit suffered from severe and persistent quality problems

which led Boeing to place Spirit on probation, and Spirit lacked sufficient experienced personnel

to produce quality products at its planned rates. These statements were further false and misleading

because on February 22, 2022 FE1 notified Spirit that it suffered from an “excessive amount of

defects,” and that his team was being instructed by managers to “falsify[] the documentation.”

        171.    During the Investor Day presentation, Kailash Krishnaswamy, Spirit’s SVP of

Aftermarket Services, stated, “So yes, we build product that is the right quality, the first time that
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don’t break. However, others break it, and so we really do have to fix it, which we are thankful

for.”

         172.    The above statements identified in ¶171 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit frequently did not “build product that is the right quality, the first time that don’t

break,” but rather Spirit suffered from severe and persistent quality problems which led Boeing to

place Spirit on probation. These statements were further false and misleading because on February

22, 2022 FE1 notified Spirit that it suffered from an “excessive amount of defects,” and that his

team was being instructed by managers to “falsify[] the documentation.”

         173.    During the Investor Day presentation, Kevin Matthies, Spirit’s CTO and Chief

Quality Officer, stated:

         Our customers recognize that the value that we bring to them is higher. And frankly,
         we understand that our customers are becoming a lot more demanding of our big
         OEMs as it relates to quality. There was a discussion about skin quality a little bit.
         We are going above and beyond what the requirements ask of us to make sure
         that our customers are successful when it comes to quality so that they can enable
         the sale of that product to their customers efficiently and effectively.

                                            *       *       *

         When I talk with our Board about quality, I mean that is one -- that is my primary
         job. I talked to them about the fact that I’m focused on building a production
         system and quality is a key component of that. And our team has done a great job
         of embracing that throughout the last few years as we’ve taken that opportunity
         to transform during the pandemic.

         174.    The above statements identified in ¶173 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit was not “going above and beyond what the requirements ask of us to make sure

that our customers are successful when it comes to quality,” but rather Spirit suffered from severe

and persistent quality problems. These statements were further misleading because Spirit had not

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“done a great job of embracing [quality] throughout the last few years,” in fact it had spent the last

few years trying to get off of probation with Boeing, which was imposed due to its excessive

defects. These statements were further false and misleading because on February 22, 2022 FE1

notified Spirit that it suffered from an “excessive amount of defects,” and that his team was being

instructed by managers to “falsify[] the documentation.”

        175.    Matthies further stated:

        The other thing we realized is that we needed to perpetually ensure that when
        we’re building the product, we’re building it per specification, per engineering,
        per the planning. And so we’ve deployed a technique that we refer to as 3 lines of
        defense. You may have heard that in a couple of different areas. We’ve leveraged
        this a lot, not just from a quality perspective, but wherever we think -- we want to
        make sure that we have a surety in what we’re doing. We’re leveraging this type of
        technology. We actually spent time over the last year, and we have about one
        more year to go, ensuring that our processes and our products are actually in
        conformance with the engineering requirements. We’ve deployed teams to go
        verify all of that, which is mitigating any potential for future escapes. And then
        we deploy these 3 lines of defense perpetually. So when the mechanics and the
        inspectors are responsible for making sure that the product is done every day, but
        we also have our engineering team out auditing that process and product to make
        sure that indeed it is actually being built per specification. And where it’s not, we
        can actually make adjustments or update the planning.

        And we’ve seen a lot of value by doing this, we can actually update the planning to
        make it a little bit more clear for the mechanics and inspectors so that they get it
        right. And then finally, we have a, what I would call that audit function, making
        sure that all of this works and is behaving, we’re randomly selecting areas to dig in
        deeper.

        176.    In connection with the Investor Day presentation provided by Spirit on March 2,

2022, Spirit published a slide deck titled “Welcome, Investor Day 2022,” also dated March 2, 2022,

which Spirit’s presenters referred to during the presentation. The presentation contained the

following slide, which Matthies presented in connection with his statements set forth above in the

preceding paragraph:




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        177.    The above statements identified in ¶175-76 were materially false and/or

misleading, and/or failed to disclose material adverse facts because, as Defendants knew or

recklessly disregarded, Spirit frequently did not build its products “per specification, per

engineering, per the planning” and Spirit was not “mitigating any potential for future escapes,” but

rather Spirit suffered from severe and persistent quality problems which led Boeing to place Spirit

on probation. These statements were further false and misleading because on February 22, 2022

FE1 notified Spirit that it suffered from an “excessive amount of defects,” and that his team was

being instructed by managers to “falsify[] the documentation.”




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         G.     May 4, 2022 Quarterly Report For the First Quarter of 2022

         178.   On May, 2022 Spirit filed with the SEC its quarterly report for the first quarter of

2022 on Form 10-Q. The quarterly report was signed by Defendant Suchinski.

         179.   The quarterly report included as exhibits signed certifications from Defendants

Gentile and Suchinski pursuant to the Sarbanes-Oxley Act of 2002, stating in relevant part that “I

have reviewed this Quarterly Report on Form 10-Q of Spirit AeroSystems Holdings, Inc.,” and

“Based on my knowledge, this report does not contain any untrue statement of a material fact or

omit to state a material fact necessary to make the statements made, in light of the circumstances

under which such statements were made, not misleading with respect to the period covered by

this report.”

         180.   The above statements identified in ¶179 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, the quarterly report contained the below-detailed misstatements and omissions, which

were materially false and misleading for the reasons set forth below.

         181.   The quarterly report under the heading “Item 1A. Risk Factors” stated “‘Item 1A.

Risk Factors’ of our 2021 Form 10-K includes a discussion of our known material risk factors, other

than risks that could apply to any issuer or offering. There have been no material changes from

the risk factors described in our 2021 Form 10-K.”

         182.   The above statements identified in ¶181 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, after Spirit filed its 2021 Form 10-K on February 15, 2022, on March 16, 2022 FE1

informed Defendant Gentile that Spirit suffered from an “excessive amount of defects,” that his

team was being instructed by managers to “falsify[] the documentation,” and that Boeing had

previously placed Spirit on probation.
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         183.   Spirit’s First Quarter 2022 Form 10-Q was also materially misleading for failing to

provide disclosures required by Item 105 and Item 303 of SEC Regulation S-K.

         184.   In violation of Item 105, Defendants failed to disclose in Spirit’s First Quarter 2022

Form 10-Q that Spirit suffered from severe and persistent quality problems which had led Boeing

to place Spirit on probation. This was a material factor that made an investment in Spirit speculative

or risky. Such persistent quality problems and probation created risks of future repair costs and lost

business, and Boeing was at all times Spirit’s most important customer, accounting for over half of

revenues.

         185.   Defendants’ failure to disclose in Spirit’s First Quarter 2022 Form 10-Q that Spirit

suffered from severe and persistent quality problems which had led Boeing to place Spirit on

probation also violated Item 303. The possibility of future repair costs and lost business due to such

quality failures were known uncertainties likely to result in material decreases in Spirit’s net sales,

revenues, income from continuing operations, and liquidity.

         H.     November 3, 2022 Quarterly Report For the Third Quarter of 2022

         186.   On November 3, 2022 Spirit filed with the SEC its quarterly report for the third

quarter of 2022 on Form 10-Q. The quarterly report was signed by Defendant Suchinski.

         187.   The quarterly report included as exhibits signed certifications from Defendants

Gentile and Suchinski pursuant to the Sarbanes-Oxley Act of 2002, stating in relevant part that “I

have reviewed this Quarterly Report on Form 10-Q of Spirit AeroSystems Holdings, Inc.,” and

“Based on my knowledge, this report does not contain any untrue statement of a material fact or

omit to state a material fact necessary to make the statements made, in light of the circumstances

under which such statements were made, not misleading with respect to the period covered by

this report.”



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        188.    The above statements identified in ¶187 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, the quarterly report contained the below-detailed misstatements and omissions, which

were materially false and misleading for the reasons set forth below.

        189.    The quarterly report under the heading “Item 1A. Risk Factors” stated “‘Item 1A.

Risk Factors’ of our 2021 Form 10-K includes a discussion of our known material risk factors, other

than risks that could apply to any issuer or offering. There have been no material changes from

the risk factors described in our 2021 Form 10-K.”

        190.    The above statements identified in ¶189 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, after Spirit filed its 2021 Form 10-K on February 15, 2022, on March 16, 2022 FE1

informed Defendant Gentile that Spirit suffered from an “excessive amount of defects,” that his

team was being instructed by managers to “falsify[] the documentation,” and that Boeing had

previously placed Spirit on probation. These statements were further misleading because Joshua

Dean identified the mis-drilled aft pressure bulkhead holes defect in October 2022, and had reported

this issue internally to multiple Spirit employees.

        191.    Spirit’s Third Quarter 2022 Form 10-Q was also materially misleading for failing

to provide disclosures required by Item 105 and Item 303 of SEC Regulation S-K.

        192.    In violation of Item 105, Defendants failed to disclose in Spirit’s Third Quarter

2022 Form 10-Q that Spirit suffered from severe and persistent quality problems which had led

Boeing to place Spirit on probation, and also failed to disclose the mis-drilled aft pressure bulkhead

holes defect. These were material factors that made an investment in Spirit speculative or risky.

Such persistent quality problems, probation, and known defects created risks of future repair costs



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and lost business, and Boeing was at all times Spirit’s most important customer, accounting for over

half of revenues.

        193.    Defendants’ failure to disclose in Spirit’s Third Quarter 2022 Form 10-Q that Spirit

suffered from severe and persistent quality problems which had led Boeing to place Spirit on

probation, and their failure to disclose the mis-drilled aft pressure bulkhead holes defect, also

violated Item 303. The possibility of future repair costs and lost business due to such quality failures

and defects were known uncertainties likely to result in material decreases in Spirit’s net sales,

revenues, income from continuing operations, and liquidity.

        I.      January 25, 2023 Code of Conduct

        194.    The page titled “Governance Documents” within Spirit’s website lists and contains

links to various corporate policies, including a “Code of Conduct” dated January 25, 2023.

        195.    The Code of Conduct states that “The Code applies to everyone doing Spirit

business, including all employees, officers, directors, and affiliates,” and states that “failure to

comply with the Code could result in disciplinary action, up to and including termination of

employment.” The Code further states that “We certify our compliance, and our knowledge of

others’ compliance, with the Code at least annually.”

        196.    The Code contained a cover letter from Defendant Gentile in which he states that

“Spirit has a responsibility to our employees, customers, and communities to: Deliver reliable,

high-quality products that our customers and the public have confidence using.”

        197.    The above statements identified in ¶196 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit did not deliver “high-quality products that [its] customers . . . have confidence

using,” but rather Spirit suffered from severe and persistent quality problems. These statements

were further misleading because on March 16, 2022 FE1 informed Defendant Gentile that Spirit
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suffered from an “excessive amount of defects,” that his team was being instructed by managers to

“falsify[] the documentation,” and that Boeing had previously placed Spirit on probation. These

statements were still further misleading because Joshua Dean identified the mis-drilled aft pressure

bulkhead holes defect in October 2022, and had reported this issue internally to multiple Spirit

employees, including the submission of formal written findings to his manager.

          198.   The Code, under the heading “Ensuring the quality of our products and services”

stated:

          The quality of our products and services determines the safety of aircraft
          passengers worldwide. To achieve the highest standards of safety for our
          customers, we must focus on quality all the time. Quality is the cornerstone of
          our brand.

          To achieve high performance and maintain our reputation for delivering the
          highest quality goods, we must comply with quality control standards and follow
          contract specifications at all times.

          199.   The above statements identified in ¶198 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit did not “focus on quality all the time,” have a “reputation for delivering the

highest quality goods,” or “comply with quality control standards and follow contract specifications

at all times,” but rather Spirit suffered from severe and persistent quality problems. These

statements were further misleading because on March 16, 2022 FE1 informed Defendant Gentile

that Spirit suffered from an “excessive amount of defects,” that his team was being instructed by

managers to “falsify[] the documentation,” and that Boeing had previously placed Spirit on

probation. These statements were still further misleading because Joshua Dean identified the mis-

drilled aft pressure bulkhead holes defect in October 2022, and had reported this issue internally to

multiple Spirit employees, including the submission of formal written findings to his manager.




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           J.       February 17, 2023 Annual Report for 2022

           200.     On February 17, 2023 Spirit filed with the SEC its annual report for 2022 on Form

10-K. The annual report was signed by Defendants Gentile and Suchinski.

           201.     The annual report included as exhibits signed certifications from Defendants

Gentile and Suchinski pursuant to the Sarbanes-Oxley Act of 2002, stating in relevant part that “I

have reviewed this Annual Report on Form 10-K of Spirit AeroSystems Holdings, Inc.,” and “Based

on my knowledge, this report does not contain any untrue statement of a material fact or omit to

state a material fact necessary to make the statements made, in light of the circumstances under

which such statements were made, not misleading with respect to the period covered by this

report.”

           202.     The above statements identified in ¶201 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, the annual report contained the below-detailed misstatements and omissions, which

were materially false and misleading for the reasons set forth below.

           203.     The annual report, under the heading “Item 1A. Risk Factors” and the sub-heading

“Our business depends on our ability to maintain a healthy supply chain, meet production rate

requirements, and timely deliver products that meet or exceed stringent quality standards”, stated

in relevant part:

           Our business depends on our ability to maintain a healthy supply chain, achieve
           planned production rate targets, and meet or exceed stringent delivery, performance
           and reliability standards . . .

           Operational issues, including delays or defects in supplier components, have
           resulted and could continue to result in significant out-of-sequence work and
           increased production costs, as well as delayed deliveries to customers. Our
           suppliers’ failure to provide parts that meet our technical specifications has
           adversely affected and could continue to adversely affect production schedules and
           contract profitability.


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                                           *      *       *

        From time-to-time the Company has experienced, and may continue to
        experience, quality or delivery timing disruptions. This includes common carrier
        disruptions and other disruptions that affect manufacturing lines, any of which
        could have a material adverse impact on the Company’s ability to meet
        commitments to its customers and on its future financial results.

        204.    The above statements identified in ¶203 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit did not “timely deliver products that meet or exceed stringent quality standards,”

but routinely delivered products that failed to meet quality standards. These statements were

additionally misleading for stating that “[f]rom time-to-time the Company has experienced, and

may continue to experience, quality or delivery timing disruptions,” when Spirit routinely

experienced quality failures and continued to do so. These statements were further misleading

because on March 16, 2022 FE1 informed Defendant Gentile that Spirit suffered from an “excessive

amount of defects,” that his team was being instructed by managers to “falsify[] the

documentation,” and that Boeing had previously placed Spirit on probation. These statements were

still further misleading because Joshua Dean identified the mis-drilled aft pressure bulkhead holes

defect in October 2022, and had reported this issue internally to multiple Spirit employees,

including the submission of formal written findings to his manager.

        205.    Under the heading “Item 1A. Risk Factors” and the sub-heading “Our business

depends largely on sales of components for a single aircraft program, the B737 MAX, which has

had significant reductions in production rate, including suspensions, relating to the B737 MAX

grounding and the COVID-19 pandemic. Additional suspensions or reductions in, or increases in,

the B737 MAX production rate may create financial and disruption risks for the Company and




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its suppliers on the program, which, may in turn, affect the Company’s ability to comply with

contractual obligations,” the annual report stated in relevant part:

        If production levels for the B737 MAX program are reduced beyond current
        expectations due to depressed demand or otherwise, or if we have difficulties in
        managing our cost structure to take into account changes in production schedules
        or to accommodate a ramp-up in production, our liquidity position may worsen
        absent our ability to procure additional financing, we may trigger an event of
        default under our credit facilities, and our business, financial condition, results of
        operations and cash flows could be materially adversely impacted.

        206.    The above statements identified in ¶205 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, “[a]dditional suspensions or reductions in . . . the B737 MAX production rate” were

not merely a hypothetical risk, but were highly likely because Joshua Dean identified the mis-drilled

aft pressure bulkhead holes defect in October 2022, and had reported this issue internally to multiple

Spirit employees, including the submission of formal written findings to his manager.

        207.    Spirit’s Annual Report for 2022 on Form 10-K was also materially misleading for

failing to provide disclosures required by Item 105 and Item 303 of SEC Regulation S-K.

        208.    In violation of Item 105, Defendants failed to disclose in Spirit’s Annual Report for

2022 on Form 10-K that Spirit suffered from severe and persistent quality problems which had led

Boeing to place Spirit on probation, and also failed to disclose the mis-drilled aft pressure bulkhead

holes defect. These were material factors that made an investment in Spirit speculative or risky.

Such persistent quality problems, probation, and known defects created risks of future repair costs

and lost business, and Boeing was at all times Spirit’s most important customer, accounting for over

half of revenues.

        209.    Defendants’ failure to disclose in Spirit’s Annual Report for 2022 on Form 10-K

that Spirit suffered from severe and persistent quality problems which had led Boeing to place Spirit



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on probation, and their failure to disclose the mis-drilled aft pressure bulkhead holes defect, also

violated Item 303. The possibility of future repair costs and lost business due to such quality failures

and defects were known uncertainties likely to result in material decreases in Spirit’s net sales,

revenues, income from continuing operations, and liquidity.

        210.    The annual report stated under the heading “Code of Business Conduct”:

        The Company is committed to the highest ethical standards and to complying with
        all laws and regulations applicable to the Company’s business. To support and
        articulate its commitment and responsibility in this regard, the Company has
        adopted the Code of Business Conduct (the “Code”). The Code addresses a number
        of topics, including the Foreign Corrupt Practices Act, conflicts of interest,
        safeguarding assets, insider trading, and general adherence to laws and regulations.
        All directors and employees, including executive officers, must comply with the
        Code. The Code is available on the Company’s website at
        https://investor.spiritaero.com/corporate-governance/govdocs/.

        211.    The webpage link in the preceding paragraph contains a document titled “Code of

Conduct” and dated January 25, 2023. This is the document referred to in the annual report. That

webpage does not contain any references to a document titled “Code of Business Conduct,” and

Spirit does not appear to have published a document titled “Code of Business Conduct.” The “Code

of Conduct” dated January 25, 2023 addresses topics including the Foreign Corrupt Practices Act,

conflicts of interest, safeguarding assets, insider trading, and general adherence to laws and

regulations.

        212.    By referencing and providing a link to the January 25, 2023 Code of Conduct, the

annual report thereby incorporated and reiterated the misleading statements set forth above in Part

VII.I, which were materially false and misleading for the reasons described supra.

        K.      March 29-31, 2023 Spirit Website Statements

        213.    Over March 29-31, 2023, Spirit published a series of statements to its webpage

titled “Wichita Manufacturing News,” at https://www.spiritaero.com/manufacturing/. While those

statements are undated on Spirit’s webpage, archived snapshots of the webpage show that the below
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described statements had not been posted prior to March 29, 2023, and had been posted as of March

31, 2023. Therefore, Spirit published these statements to its website between March 29, 2023 and

March 31, 2023.

        214.    One such statement, titled “Getting to Know Pete Loecke,” contained questions and

answers with Spirit Senior Director of Manufacturing Pete Loecke, and stated in relevant part:

        Q. Talk about our quality journey and the basic principles of quality.

        A. The basic principles of quality are do not create, do not pass and do not accept
        a defect. Think about it in order: If you create a defect, that creates an opportunity
        that could be expensive all the way to the customer. If you pass a defect or accept
        a defect…we can pass an expensive problem to our customer. Work it in that order.
        Do not create a defect and remember no one does anyone a favor by accepting or
        passing a defect down the line. We are in a role of continuously reinventing
        ourselves. Sometimes it might not seem that way if you are a mechanic building
        the same thing over and over again… (but) we need to challenge the status quo
        and raise the bar. That is the foundational piece of quality.

        215.    The above statements identified in ¶214 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit suffered from severe and persistent quality problems and often tolerated defects

in order to expedite production. These statements were further misleading because on March 16,

2022 FE1 informed Defendant Gentile that Spirit suffered from an “excessive amount of defects,”

that his team was being instructed by managers to “falsify[] the documentation,” and that Boeing

had previously placed Spirit on probation. These statements were still further misleading because

Joshua Dean identified the mis-drilled aft pressure bulkhead holes defect in October 2022, and had

reported this issue internally to multiple Spirit employees, including the submission of formal

written findings to his manager.




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        216.    Spirit published a second statement under the title “Raising the Bar on Quality,”

which it attributed to Bill Brown, Spirit’s Senior Vice President of Quality and Ops Engineering,

and which stated:

        Many of our fellow teams and colleagues are hard at work to realize rate increases
        across all programs this year. At the same time, our customers have raised the bar
        on expectations of product and service quality. As production continues to
        accelerate, we must ensure deliveries are not achieved at the expense of our
        commitment to Quality Without Compromise.

        WHY THIS MATTERS: Without quality, a business is likely to fail.

        * Customers will look for a better product somewhere else, and the standard set for
        quality revolves solely around a customer’s willingness to purchase your product.

        * We all know that even the smallest defect can create a flight safety concern - so
        there should be no tolerance to allow an escape to our customers, but more
        importantly, to those individuals who have entrusted us with their safety.

        217.    The above statements identified in ¶216 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit suffered from severe and persistent quality problems and often allowed defects

to escape to its customers. These statements were further misleading because on March 16, 2022

FE1 informed Defendant Gentile that Spirit suffered from an “excessive amount of defects,” that

his team was being instructed by managers to “falsify[] the documentation,” and that Boeing had

previously placed Spirit on probation. These statements were still further misleading because

Joshua Dean identified the mis-drilled aft pressure bulkhead holes defect in October 2022, and had

reported this issue internally to multiple Spirit employees, including the submission of formal

written findings to his manager.

        218.    The “Raising the Bar on Quality” statement included a video titled “Quality – A

New Approach” in which Brown discusses quality issues. In the video, Brown states in relevant

part:

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        Our slogan is quality matters. It’s quality without compromise. Why? We can’t risk
        our products ever being involved in an incident or accident. And to protect that we
        have a great quality system that ensures our parts are inspected and controlled
        and go out FOD [foreign object debris] free and defect free. That’s a pretty simple
        process.

        219.    The following still image was captured from the video (subtitles in original video):




        220.    The above statements identified in ¶¶218-219 were materially false and/or

misleading, and/or failed to disclose material adverse facts because, as Defendants knew or

recklessly disregarded, Spirit did not “have a great quality system that ensures our parts are

inspected and controlled and go out FOD [foreign object debris] free and defect free,” but rather

Spirit suffered from severe and persistent quality problems, and routinely delivered parts to

customers with FOD and other defects. These statements were further misleading because on March

16, 2022 FE1 informed Defendant Gentile that Spirit suffered from an “excessive amount of

defects,” that his team was being instructed by managers to “falsify[] the documentation,” and that

Boeing had previously placed Spirit on probation. These statements were still further misleading

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because Joshua Dean identified the mis-drilled aft pressure bulkhead holes defect in October 2022,

and had reported this issue internally to multiple Spirit employees, including the submission of

formal written findings to his manager.

VIII. THE TRUTH EMERGES, CAUSING SUBSTANTIAL DECLINES IN SPIRIT’S
      STOCK PRICE, WHILE DEFENDANTS CONTINUE TO MISLEAD
      INVESTORS

        221.    From April 13, 2023 to the end of the Class Period on September 7, 2023, the

material risks and adverse information previously concealed by Defendants’ false and misleading

statements and omissions were revealed in a series of media reports and disclosures by Spirit and

Boeing. As a result, Spirit’s stock price suffered steep losses. Over this period Defendants continued

to make misleading statements and continued to conceal material information from investors.

        A.      April 13, 2023 Boeing Press Statements And Articles Concerning Spirit’s
                Defective Installation Of 737 MAX Tail Fin Fittings

        222.    On April 13, 2023, after the close of stock market trading, various media outlets

began to report that Boeing had issued a statement that it would halt deliveries of 737 MAX

airplanes due to a supplier quality issue.

        223.    For example, on April 13, 2023, Bloomberg wrote in an article titled “Boeing to

Pause Some 737 Max Deliveries Over Production Issue” that:

        Boeing Co. is pausing deliveries of some 737 Max models after learning of a
        manufacturing issue that doesn’t affect the safety of planes in the air, the company
        said Thursday. The planemaker said it was notified of the issue the day before by
        Spirit AeroSystems Holdings Inc., which assembles most of the 737’s aluminum
        frame. The problem involves two fittings that attach the jet’s vertical tail to the rear
        end of its fuselage and affects a portion of the 737 jets built since 2019, including
        much of the Max version.

        The problem will likely impact a significant number of undelivered aircraft as well
        as those stored at Boeing, according to the company. Boeing said it expects
        deliveries to decline in the near-term as it inspects affected aircraft.




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        224.       Similarly, on August 13, 2023, Barron’s published an article titled “Boeing Stock

Falls After Halting 737 MAX Deliveries. It’s Not What Investors Want to Hear.” The article

quoted a statement provided by Boeing:

        “A supplier has notified us that a nonstandard manufacturing process was used
        during the installation of two fittings in the aft fuselage section of certain [737
        MAX] airplanes, creating the potential for a nonconformance to required
        specifications,” said a Boeing spokeswoman in an emailed statement. “This is not
        an immediate safety of flight issue and the in-service fleet can continue operating
        safely. However, the issue will likely affect a significant number of undelivered
        737 MAX airplanes, both in production and in storage.”

        225.       Numerous media outlets published similar articles over April 13-14, 2023,

including the Associated Press (“Boeing Max production could be slowed by issue with parts”),

Aviation Week (“New Production Issue Will Delay 737 MAX Deliveries, Require Repairs”),

Reuters (“Boeing halts deliveries of some 737 MAXs amid new supplier problem”), and the Seattle

Times (“Boeing 737 MAX production hit by a new defect in supplier part”). These articles were

based on statements from Boeing, and cited Spirit as the source of the defect.

        226.       On this news, Spirit’s share price fell $7.38 as compared to the prior day closing

price, or 20.7%, to close at $28.22 per share on April 14, 2023, on heavy trading volume.

        227.       Independent observers linked the decline in Spirit’s share price to the revelation of

the manufacturing defect. In an update published in the morning on April 14, 2023 to its April 13

article, Bloomberg attributed a sharp, immediate decline in Spirit’s stock price to the news of the

defect, stating:

        [Boeing’s] shares fell 6.1% to $200.49 as of 9:37 a.m. in New York Friday after
        Boeing said late Thursday it expects deliveries to decline in the near-term as it
        inspects affected aircraft. Spirit AeroSystems Holdings Inc., which supplies the
        faulty part, declined 18% — its biggest drop in more than three years — to $29.18.




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        228.    Other media outlets likewise attributed the sharp fall in Spirit’s stock price to the

news of the defect. For example, Reuters wrote that “Boeing shares fell 5.3% and shares of Spirit

AeroSystems fell 11.8% in after hours trade following the announcement.”

        229.    Although the truth and/or materialization of concealed risks were partially revealed

to the market on April 13, 2023, Defendants continued to mislead investors.

        230.    After numerous media reports had been published regarding the defect, on April

14, 2013 Spirit published a statement to its website titled “Spirit AeroSystems Statement on 737,”

which stated:

        Spirit has notified our customer, Boeing, that we have identified a quality issue
        on the aft fuselage section of certain models of the 737 fuselage that Spirit builds.
        This is not an immediate safety of flight issue. We have processes in place to
        address these of types of production issues upon identification, which we are
        following. Spirit is working to develop an inspection and repair for the affected
        fuselages. We continue to coordinate closely with our customer to resolve this
        matter and minimize impacts while maintaining our focus on safety.

        231.    The above statements identified in ¶230 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, in addition to the disclosed tail fin fittings defect Spirit also knew of, but concealed,

another “quality issue on the aft fuselage section of certain models of the 737 fuselage that Spirit

builds” relating to mis-drilled aft pressure bulkhead holes.

        B.      May 3, 2023 Spirit First Quarter Earnings Release

        232.    On May 3, 2023, Spirit held its earnings call for the first quarter of 2023.

        233.    On that call, Defendant Suchinski stated:

        I want to begin by discussing the financial impacts resulting from the vertical fin
        attach fitting issue that Tom addressed in his opening comments. We’ve performed
        a preliminary financial assessment of our production impacts, and as a result, expect
        disruptions and rework within Spirit’s Wichita factory to negatively impact full
        year gross profit by approximately $31 million, of which $17 million is reflected in
        the first quarter 2023 financial results.


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The rework costs on available units in Wichita is expected to average between
$100,000 and $150,000 per unit, which is approximately $5 million of the total. We
expect to incur future additional costs, including those that our customer may assert
to repair previously delivered units in their factory and warranty costs related to the
affected 737 units in service. However, those remaining costs cannot be reasonably
estimated at this time.

The disruption of rework that will take place in Wichita will reduce near-term 737
production by about 30 to 40 units, leading to full year 737 deliveries of about 390,
and with the potential to make up additional units in the back half of the year.

234.    Defendant Suchinski further stated on the earnings call:

Looking ahead, the rework and disruption from the vertical fin attach fitting issue
as well as the risk of lower 737 deliveries will have a negative impact on free cash
flow this year. The forward losses taken during the quarter will also result in
additional pressure in our cash flows. Given these headwinds, we now expect our
full year free cash flow usage to be in the range of $100 million to $150 million
negative. This range does not include the additional items I mentioned earlier
related to the vertical fin attach fittings that can’t be reasonably estimated at this
time.

Because we are in the very early stages of recovering from the 737 vertical fin
attach fitting issue, we expect to further refine the impacts to full year free cash
flow as we progress through the rework and associated disruptions and return to
normal production. The biggest impact to our free cash flow range will be
dependent on our full year 737 deliveries.

235.    On the earnings call TD Cowen analyst Cai von Rumohr asked:

So, I can appreciate the difficulty in estimating the cost of the 737 fittings, but can
you give us some help in terms of how many planes are involved? I would have
calculated 250 that are in inventory at Boeing, plus some 800 or so out in the fleet.
So, somewhat over about 1,000 planes. Is that a relatively accurate range?

236.    Defendant Gentile responded to Rumohr’s question:

Well, I think you mentioned, the airplanes that Boeing has kind of in its factory and
in storage, and I think on the earnings call, Dave Calhoun said about 75% of those
are affected. So that’s in the realm of right. In terms of the units out in the field, I
think 800 is a little bit high compared to the current bounding that we understand.
It’s probably closer to 500. And again, this could change, because there is still work
going on in terms of the bounding. But about 500 in the field.




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        237.    On the earnings call, Godman Sachs & Co. LLC analyst Noah Poponak asked,

“And are you -- is your best estimate that, that cost to rework what’s not yours -- or it’s not your

fuselages will be a multiple of the $100,000 to $150,000 or it’s just too early to tell?”

        238.    Defendant Gentile responded to Poponak’s question:

        It’s too early. We know that for us to repair a unit, it’s $100,000 to $150,000. As I
        said, with Boeing, they have aircraft that are more complete, all the way to
        completed aircraft, and they have more structure to remove in some systems. So
        their costs will be higher than ours.

        239.    On May 3, 2023 Spirit also made similar disclosures of the negative effects of the

vertical fin attach fittings issue in a press release titled “Spirit AeroSystems Reports First Quarter

2023 Results,” and in its quarterly report for the first quarter of 2023 on Form 10-Q.

        240.    On this news, Spirit’s share price fell $3.68 as compared to the prior day closing

price, or 12.3%, to close at $26.28 per share on May 3, 2023, on heavy trading volume.

        241.    Spirit’s May 3, 2023 revelations concerning the negative affects of the vertical fin

attach fittings issue were reported in financial media, and independent observers linked the decline

in Spirit’s share price to these revelations. For example, on May 3, 2023, Bloomberg published an

article titled “Spirit Aero Falls as 737 Defect Crimps Boeing Deliveries, Cash,” stating “Spirit

AeroSystems Holdings Inc. expects to burn through about $100 million in free cash this year as

repairs for a recently uncovered 737 manufacturing defect drag down deliveries to Boeing Co.,”

and noting “Shares fall as much as 10%, most since April 14.”

        242.    Although the truth and/or materialization of concealed risks were partially revealed

to the market on May 3, 2023, Defendants continued to mislead investors.

        243.    On Spirit’s May 3, 2023 earnings call Defendant Gentile stated:

        I want to begin today by providing an update to the quality issue with the Vertical
        Fin Attached Fittings, certain models of the 737 fuselage that Spirit builds. After
        identifying the issue, our top priority was to work with Boeing and the FAA for

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        their confirmation that it was not an immediate safety of flight issue. Once we
        confirm this, we turned our attention to ensuring our ongoing production meets
        manufacturing standards. We have revised our assembly process in production,
        have restarted production and have resumed shipments of conforming fuselages
        to Boeing.

        244.    The above statements identified in ¶243 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, in addition to the disclosed tail fin fittings defect Spirit also knew of, but concealed,

the mis-drilled aft pressure bulkhead holes defect. These statements were further misleading

because Spirit was not “ensuring [its] ongoing production meets manufacturing standards,” and had

not “resumed shipments of conforming fuselages to Boeing,” because Spirit had failed to correct

the known mis-drilled aft pressure bulkhead holes defect.

        245.    Defendant Gentile further stated:

        The quality and safety of our products are very important to Spirit and our
        customers. Our employees understand and take great pride that the products we
        manufacture are enabling flights around the globe every single day. As part of our
        quality management system, we have processes in place to address issues like the
        Vertical Fin Attached Fittings, which we followed in this case. We also have an
        extensive root cause corrective action process and are implementing additional
        protocols to reinforce our quality systems to prevent similar occurrences in the
        future. We are committed to strengthening and continuously improving our
        safety and quality culture as a trusted partner to our customers.

        246.    The above statements identified in ¶245 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, despite claiming that Spirit was “implementing additional protocols to reinforce our

quality systems to prevent similar occurrences in the future,” Spirit had failed to correct the known

mis-drilled aft pressure bulkhead holes defect.

        247.    On the earnings call Barclays Capital, Inc. analyst David Strauss asked, “Tom,

when you say that you are now delivering clean MAX units to Boeing, can you define what that



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means? Does that mean you’re actually shipping to Boeing or are you just effectively delivering to

Boeing by completing a unit and then sticking it in your own WIP and then will ship to Boeing?”

         248.   Defendant Gentile responded to Strauss’s question:

         Yeah. Well, David, we’re doing both. We’re shipping units to Boeing and we’re
         completing units, conforming units and putting them into ship in place.

                                          *      *       *

         So, that’s how we’ve been supplementing deliveries to Boeing in the short term,
         is taking units that are with no defects out of the stored units and also producing
         new conforming units.

         249.   The above statements identified in ¶248 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, Spirit was not providing Boeing with “units that are with no defects out of the stored

units” and was not “producing new conforming units,” because Spirit had failed to correct the

known mis-drilled aft pressure bulkhead holes defect.

         250.   On the earnings call Sanford C. Bernstein & Co., LLC analyst Douglas Harned

asked:

         When you look at some of the challenges that you’ve had here, and we’ve seen
         challenges on the 787 and the A350 and the MAX even before this current issue, in
         last quarter, you made some organizational changes and we’ve still got new charges
         coming through now. And what I’m trying to understand is the steps you’re taking
         now that can give us confidence that you can really get these operational issues
         behind you and start to deliver with the performance levels that I think you would
         hope for.

         251.   Defendant Gentile responded to Harned’s question:

         And here in Wichita, on the 737, this was obviously an unexpected issue related to
         a quality issue. But we have a strong quality team, operations team, engineering
         team, and they’ve all been working in close association with Boeing to address
         the issue and get execution back on track to get production flowing again and
         also to recover some of the units that we lost. And I would say, one of the big
         things in terms of the 737 line is having those strong teams, but also really the
         strong coordination with Boeing.

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        In challenging times like this, our two companies have really come together in
        terms of program, operations, supply chain, engineering, to help address the issue.
        We’ve shared a lot of information, for example, on how to do the repair and
        shared best practices to accelerate and come down the learning curve. And so, I
        think that level of cooperation also gives us confidence that we can recover from
        this issue and get back to meeting the production rate increases as we go
        throughout the year.

        252.    The above statements identified in ¶251 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, despite emphasizing Spirit’s “close association,” “strong coordination,” and “shar[ing]

a lot of information” with Boeing to address quality issues, Spirit had not disclosed to Boeing the

known mis-drilled aft pressure bulkhead holes defect.

        253.    On the earnings call Truist Securities, Inc. analyst Michael Ciarmoli asked, “I guess

just on the you’ve got basically $570 million of cash on the balance sheet. If you’re going to burn

$150 million, that leaves you with $418. Help me understand why you exactly need the $280 million

cash advance. I mean what do we not know here that could be a big risk to cash?”

        254.    Defendant Gentile responded:

        It really is just to have some additional surplus and cushion because you’re right,
        that’s about the -- those are the right numbers. We just felt it was prudent to make
        sure we had some additional cushion. We’ve always said we want between $300
        million and $500 million to run the business. And the $280 million gave us some
        cushion to put us above that threshold. And that’s really the reason. I don’t think
        there’s any other underlying reason other than we felt it prudent to have that
        cushion. And we were fortunate that our customers were able to support us,
        particularly Boeing.

        255.    The above statements identified in ¶254 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, the known mis-drilled aft pressure bulkhead holes defect was likely to result in




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increased repair costs and decreased sales, and so represented “a big risk to cash” that investors did

not yet know about, and which substantially contributed to Spirit’s need for the cash advance.

        C.      August 2, 2023 Spirit Second Quarter Earnings Release

        256.    On August 2, 2023, Spirit held its earnings call for the second quarter of 2023.

        257.    On that call, Defendant Suchinski stated concerning the vertical fin fitting defect:

        We recorded a contra revenue charge of $23 million in the quarter to account for a
        potential claim from Boeing related to our estimate of the repair work to date at
        their facility, which we believe represents about half of the units. However, I want
        to emphasize that any potential claim we may receive from Boeing could be
        materially different from our estimate.

        258.    Defendant Suchinski further stated:

        Now let’s turn to free cash flow. Free cash flow usage for the quarter was $211
        million. Cash usage increased compared to the same period of 2022, largely driven
        by the negative impacts to working capital resulting from the rework and disruption
        related to the quality issue and the IAM work stoppage, as well as preparation for
        the third quarter 737 production rate increase.

        259.    On the earnings call, RBC Capital Markets LLC analyst Stephen Strackhouse

asked, “is it fair for us to think that the $23 million should effectively double? Or can you give us

a little bit more color on the number of aircraft that the Boeing has identified or the cost to them?”

        260.    Defendant Gentile responded to Strackhouse’s question:

        We think that they’ve repaired about half the units that they need to repair. So call
        it 73 or 74. So that is a little bit less than the 75% of the 250. So it’s really the 73
        that they’ve repaired, the $23 million repair estimate aligns to that. And so we’ve
        tried to make some conservative estimates. And it’s just based on the units that are
        at Boeing, nothing in the fleet.

        So our view is that, as our understanding of the current disposition in the fleet is,
        we don’t expect any material impact for units in the fleet. So $23 million only
        represents the units that are at Boeing. And yes, it represents half of what we think
        is going to need to be done eventually. But that was the best estimate we could
        make. And so we took the charge based on the low end of that estimate.

        261.    On the earnings call Jefferies LLC analyst Sheila Kahyaoglu asked:



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        I just wanted to step back from the cash outflows today and maybe specifically
        focusing on the MAX contribution in ‘23, ‘24 and ‘25. Obviously, work stoppages,
        pauses and IAM agreements change the free cash flow profile of the MAX in ‘23.
        How do you think about that in ‘24 and ‘25 and how does the rate and inventory
        depletion progress?

        262.   Defendant Suchinski responded to Kahyaoglu’s question:

        Yeah. Sheila, good morning. I think the thing that I would add is the quality issue,
        the vertical fin, the work stoppage, that caused significant disruption to us,
        significant, right? And it was obviously not planned at the start of the year. Much
        lower deliveries in the second quarter. We’ve had to add more people. We’re taking
        deliveries out of the plan. It had serious impact overall cash flow projections for
        the year.

        263.   In response to a question from TD Cowen analyst Cai von Rumhor, Defendant

Suchinski stated, “And so when you think about cash flow over the next couple years, obviously

the issues around the quality issue and the strike has moved the cash flow generation a bit to the

right, and therefore we won’t be able to generate significant cash flow in 2024 and 2025.”

        264.   On this news, Spirit’s share price fell $8.58 as compared to the prior day closing

price, or 27.3%, to close at $22.86 per share on August 2, 2023, on heavy trading volume.

        265.   Although the truth and/or materialization of concealed risks were partially revealed

to the market on August 2, 2023, Defendants continued to mislead investors.

        266.   On the earnings call, Defendant Gentile stated:

        On the vertical fin attach fittings, first, all the rework on the available 737
        fuselages in Wichita was completed during the second quarter, which was ahead
        of the timeline we provided on our last call and within the financial estimates that
        we provided.

        267.   The above statements identified in ¶266 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, the known mis-drilled aft pressure bulkhead holes defect would require additional




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rework on 737 fuselages at additional financial expense, so “all the rework” on Spirit’s available

737 fuselages in Wichita had not been “completed.”

        268.    On the earnings call, Defendant Suchinski stated, “With the quality issue resolved

in our factory and a new labor contract in place, our entire focus is directed towards executing on

our customer commitments, including the upcoming production rate increases.”

        269.    The above statements identified in ¶268 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly

disregarded, quality issues were not “resolved” in Spirit’s factory, because Spirit knew of, but had

not addressed, the mis-drilled aft pressure bulkhead holes defect, and doing so would negatively

affect Spirit’s ability to execute production rate increases.

        D.      August 23, 2023 Articles And Spirit Press Release Concerning Spirit’s Mis-
                Drilling Of Fastener Holes On The 737 MAX Aft Pressure Bulkhead

        270.    On August 23, 2023, after the close of stock market trading, aerospace industry

 news publication The Air Current published an article titled “Boeing and Spirit Grapple With

 Newly Discovered 737 MAX Quality Issue.”

        271.    The article stated that “Boeing has identified a potentially widespread

 manufacturing quality issue on the 737 Max stemming from structural assembly work on the jet’s

 aft pressure bulkhead conducted by supplier Spirit AeroSystems,” and quoted a statement provided

 by Boeing for the article:

        “During factory inspections, we identified fastener holes that did not conform to
        our specifications in the aft pressure bulkhead on certain 737 airplanes,” said
        Boeing in a statement to The Air Current. “This is not an immediate safety of flight
        issue for the 737 fleet, which can continue operating safely. This issue will impact
        near-term 737 deliveries as we conduct inspections to determine the number of
        airplanes affected, and complete required rework on those airplanes. We continue
        to deliver 737s that are not affected. We have notified the FAA and our customers,
        and we will keep them informed as we work through the issue with our supplier.”



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        272.    Other media outlets published similar stories, including a Bloomberg article titled

“Boeing Finds New 737 Max Defect, Threatening Delivery Target,” also published on August 23,

2023.

        273.    After the publication of such articles, later on August 23, 2023, Spirit issued a press

release titled “Spirit AeroSystems 737 Aft Bulkhead Statement,” stating in part “We are aware of

a quality issue involving elongated fastener holes on the aft pressure bulkhead on certain models

of the 737 fuselage produced by Spirit AeroSystems.”

        274.    On this news, Spirit’s share price fell $2.91 as compared to the prior day closing

price, or 12.7%, to close at $20.06 per share on August 24, 2023, on heavy trading volume.

        275.    News of this defect was widely reported, and independent observers linked the

decline in Spirit’s share price to these revelations. For example, on August 24, 2023, the Associated

Press published an article titled “Boeing and a key supplier find a new manufacturing issue that

affects the 737 Max airliner,” stating “Boeing and Spirit AeroSystems said they discovered

improperly drilled fastener holes in the aft pressure bulkhead,” and noting “Shares of Spirit

AeroSystems Holdings Inc. were down 14% in afternoon trading Thursday.”

        276.    Although the truth and/or materialization of concealed risks were partially revealed

to the market on August 23, 2023, Defendants continued to mislead investors.

        277.    Spirit’s August 23, 2023 press release stated:

        We are aware of a quality issue involving elongated fastener holes on the aft
        pressure bulkhead on certain models of the 737 fuselage produced by Spirit
        AeroSystems. Because Spirit uses multiple suppliers for the aft pressure
        bulkhead, only some units are affected. Spirit will continue to deliver units to
        Boeing.

        278.    The above statements identified in ¶277 were materially false and/or misleading,

and/or failed to disclose material adverse facts because, as Defendants knew or recklessly



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disregarded, contrary to the statement that “[b]ecause Spirit uses multiple suppliers for the aft

pressure bulkhead, only some units are affected,” the mis-drilled holes defect originated with Spirit,

and not one of its suppliers.

        E.      September 7, 2023 Spirit and Boeing Comments Concerning Mis-Drilled
                Holes Defect At Jefferies Industrial Conference

        279.    On September 7, 2023, Spirit and Boeing gave separate presentations at the

Jefferies Industrials Conference, with both companies addressing the elongated holes defect.

        280.    Jefferies LLC analyst Sheila Kahyaoglu asked Boeing CFO Brian West, “We’ve

heard about the 737 aft pressure bulkhead. So talk to us about the status of that issue and the

trajectory of the recovery from here?”

        281.    West responded:

        The item you’re referring to in the fuselage was a step back from that stability goal.
        It is the aft pressure bulkhead section of the airplane. We know how to fix it, but
        it’s early in the rework process and the rework hours will likely be higher and the
        cycle time longer than the vertical fin NOE [notice of escapement], we had earlier
        in the summer. This is different. It’s a bit more complicated, it’s more involved.
        There’s hundreds of holes that get inspected. There’s an X-ray inspection process
        step that’s required, and it’s a very critical part of the airplane. So we have to make
        sure we do this right and we will.

        It will impact about 75% of the 220 airplanes that were inventory – at inventory as
        the – as of the end of the second quarter. So it’s large. In the near-term, it will
        impact deliveries, but we have no intention of changing the master schedule. As I
        mentioned, the demand signal is strong and we have to make sure everyone is
        coordinated on the longer term stability in that master schedule is very important.
        So we’re not changing it.

        In terms of our focus with our supplier, it is a 100% the most important thing we’re
        working on right now. We’ve got literally armies of people from Boeing and the
        supplier working on this issue and to drive stability in their factory. And these are
        frustrating moments for our customers, for our investors and for our teams.

        282.    Kahyaoglu asked Spirit, “Talk to us about the recently disclosed aft pressure

bulkhead issue on the MAX. In terms of deliveries, it doesn’t seem to change your guidance for

the full year. Any potential rework to profitability and free cash flow?”
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283.   Defendant Gentile responded in relevant part:

So escapes happened, and they happen on all programs. They usually don’t get this
much attention. In this case, I would say there’s greater scrutiny on quality in
general, post the MAX grounding and post the pandemic and particularly on the
MAX, for obvious reasons. In this case, for an abundance of caution, Boeing
decided to pause production or deliveries temporarily while we were doing
bounding. Normally, that doesn’t happen. We identify an escape. We bound it, do
a safety of flight analysis. In this case, Boeing and the FAA determined there was
no immediate safety of flight issue, and so the fleet could continue flying.

The other thing that was unusual about this particular issue is that normally when
we have an escape, we fix the units in our factory and then in Boeing’s factory and
we’re done. But of course, in this case, Boeing has 250 units that are stored and we
have about 60 that are stored in Wichita, Boeing-owned inventory, and some
number of those have to be fixed.

So in this case, with the aft pressure bulkhead, there were three suppliers over time.
The issue related to Spirit, we were using an automated drilling process, which if
not done perfectly, could create an oblong hole, okay? And this came up. But one
of our quality processes actually found this. So our quality management system
includes a process where we encourage employees to speak up if they see a
manufacturing process that could be fixed or improved. And one employee came
up and told us about this. We were already actively working on a fix when the
escape was found.

But we are in the process of bounding it and for us, it looks like we have about 39
units to replace or to inspect and repair. We’ve already inspected through X-ray 15
of those. What we have to do is about 1,000 holes in the aft pressure bulkhead, 500
of them are machine-enabled, so could be suspect. So we X-ray all of those and
then we look to see on the X-ray could they be suspect. And if they are, what we
do is drill out the fastener, inspect the hole. If there’s no issue with the hole and
often there isn’t, we just put in the same-sized fastener.

If there is an oblong hole, what we do is we oversize it, drill it out again so it’s a
little bit bigger, and then put it in a larger fastener. So we expect to be done with
the repairs of the units in our factory by the end of November.

Now, for Boeing, it may take a little bit longer because they have, in many cases,
completed aircraft. The 250, there’s maybe 65% or 70% of those that could require
inspection and repair. But for us, what they’ve agreed is we had 29 in WIP. We are
going to complete the production on those 29. We set up essentially a separate
factory across the street where we’re going to have eight repair lines and we’ll do
X-ray on two of those and then repair on six.




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        284.    Kahyaoglu then asked, “So just to follow up on that point. As we think about your

current production rate, you’re still going to go at 42 as you repair the other ones? And how do we

think about the delivery free cash flow impact for ‘23?”

        285.    Defendant Gentile responded:

        Right. Well, this particular issue, because we’re going to get all the repairs done by
        the end of November and ship those units, this by itself won’t have a material
        impact on our range. We said the range was 370 to 390. What we’re seeing is some
        additional pressures on supply chain and labor so we think we’ll be at the lower end
        of that range, possibly some pressure to that. But the good news is the team is
        cycling at 42 and we’re working a number of different initiatives to offset any
        impact.

        286.    On this news, Spirit’s share price fell $1.52 as compared to the prior day closing

price, or 7.3%, to close at $19.19 per share on September 7, 2023, on heavy trading volume.

        287.    Spirit’s and Boeing’s statements concerning the impact of the elongated holes

defect were reported in the financial media, and independent observers linked the decline in Spirit’s

share price to these revelations. For example, on September 7, 2023, Bloomberg published an article

titled “Boeing Warns 737 Deliveries to Be at Low End of 2023 Target,” stating “Addressing the

latest manufacturing defect is proving thornier than an earlier Spirit issue, especially for completed

737 Max jets with cabin equipment already installed,” and noting “Boeing shares declined 1% at

3:06 p.m. in New York trading, while Spirit fell 6.6%.”

IX.     POST-CLASS PERIOD EVENTS FURTHER CONFIRM SUSTAINED,
        WIDESPREAD QUALITY PROBLEMS AT SPIRIT

        A.      Spirit Replaced Defendant Gentile as CEO

        288.    On October 2, 2023, Spirit issued a press release and filed a Form 8-K with the SEC

announcing that it had replaced Defendant Gentile as President and CEO, effective September 30,

2023, and that Defendant Gentile had resigned from Spirit’s board of directors. The press release

was titled “Spirit AeroSystems Announces Leadership Transition,” and prominently featured the


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sub-heading “Thomas C. Gentile III No Longer Serves as President, Chief Executive Officer and

Director.” Spirit named an interim CEO, Patrick Shanahan, and stated that it would conduct a search

for a permanent CEO. No explanation was given for Defendant Gentile’s departure.

        289.    Spirit and Gentile entered into a Separation Agreement dated October 1, 2023,

under which Spirit would pay Gentile cash severance equal to his $1.3 million base salary, and an

additional $2,500 per hour for his consulting services. Spirit also waived requirements under its

Long-Term Incentive Plan for Gentile to be employed on the vesting date for tens of thousands of

certain Spirit restricted stock units, which were worth potentially more than $1 million. As a

condition of receiving this consideration, Spirit required Gentile to agree to release it and its

personnel from all claims, and to agree not to sue them. Spirit also required Gentile to agree not to

make any disparaging statements about Spirit, its employees, or its products or services.

        290.    Gentile’s departure from Spirit was not a planned retirement. When Spirit filed its

annual report with the SEC on February 17, 2023, Gentile was only 58 years old, and had worked

at Spirit for almost seven years. That annual report summarized Gentile’s employment at Spirit,

stating “Mr. Gentile became President and Chief Executive Officer on August 1, 2016. From April

2016 to July 2016, Mr. Gentile served as Executive Vice President and Chief Operating Officer.”

        B.      Spirit and Boeing Entered A “Stability Plan” Requiring Spirit To Reduce
                Defects And Increase Quality Staffing

        291.    On October 18, 2023, Spirit issued a press release and filed a Form 8-K with the

SEC announcing that it had entered into an agreement with Boeing on October 12, 2023, to support

Spirit’s production quality. Spirit’s press release was titled “Spirit AeroSystems, Boeing Reach

Agreement to Support Production Stability,” and stated that “[t]he agreement enables greater

collaboration to achieve improved quality and higher deliveries in the future.” In the press release,




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Spirit quoted itself as saying “Boeing and Spirit will continue to work shoulder to shoulder to

mitigate today’s operational challenges.”

        292.    The agreement included pricing changes for Spirit products delivered to Boeing, a

mutual release of claims, and for Boeing to provide Spirit $100 million within 10 business days for

“tooling and capital through 2025 for certain planned and potential 737 and 787 rate increases.”

        293.    The agreement stated under the heading “Stability Plan”:

        Spirit will create and implement, to Boeing’s satisfaction, an operational stability
        plan that:

            a. demonstrates reductions in nonconformances, foreign object debris,
               customer sensitive items, significant repair log items, and sub tier shortages;

            b. increases staffing (as jointly agreed) in support functions, including
               engineering, quality, lean, and supply chain;

            c. provides maintenance plans for all major equipment and facilities;

            d. provides work transfer plans (as required by the Agreements) that include
               key milestones and demonstrate qualified and capable rate performance
               prior to full reliance on any new supplier; and

            e. provides jointly-coordinated buffer-stock plans (which may include ship in
               place) for all programs (including two weeks’ worth of finished goods for
               737).

        294.    The agreement provided under the heading “Supply Chain Health” that “[t]he

Parties agree to work together on systemic, rate constraining, and shared supply chain challenges.

Prior to the end of calendar year 2023, the Parties will jointly establish a collaborative working

team and agreed-to cadence with a shared objective to monitor and mitigate risk and strengthen a

supply chain capable of meeting Boeing’s future desired production rates.”

        295.    The agreement was signed by Defendant Suchinski on behalf of Spirit.




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        C.      Reporting By The Air Current Revealed An Expanded Scope Of The Mis-
                Drilled Holes Defect

        296.    On October 12, 2023, The Air Current published an article titled “Boeing And Spirit

Expand Scope Of 737 MAX Aft Pressure Bulkhead Inspections.” Citing “two people familiar with

the issue,” The Air Current reported:

        Boeing and Spirit have previously focused their search and replacement efforts on
        hundreds of misdrilled fasteners installed with an automated laser-guided fastening
        machine at Spirit’s Wichita, Kansas operations. Six weeks after the issue was first
        reported by The Air Current, Boeing and its largest supplier have now begun
        examining hand-drilled fasteners on the critical structure, as well.

        297.    According to The Air Current:

        The aft pressure bulkhead is made up of pie-shaped slices that together form the
        dome that sits behind the aft galley and creates the fuselage’s aft structural seal.
        The manually drilled fasteners in question run along the seams of each slice of the
        substructure, according to one person familiar with the expanded quality checks.

        298.    The Air Current further reported that “The company earlier this week notified the

Federal Aviation Administration of its initial findings,” and quoted an FAA spokesman as

confirming that the agency is “aware of the issue and are working it through our regular oversight

process.”

        299.    On October 25, 2023, Boeing held its earnings call for the third quarter of 2023. On

the call, Boeing’s Executive Vice President and CFO, Brian West, stated, “Since our early

September update, additional areas of the aft pressure bulkhead were identified that require further

inspection and rework, which you likely read about. This additional scope impacts units that had

already gone through the initial rework and will take us more time to stabilize production and

deliveries.”




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        D.         Spirit Announced The Departure Of The Head Of Its Commercial Division,
                   Samantha Marnick

        300.       On November 28, 2023, Spirit issued a press release titled “Spirit AeroSystems

Makes Changes to Strengthen Operational Alignment and Program Execution.” The press release

“announced the departure of Sam Marnick, Executive Vice President and Chief Operating Officer,

President, Commercial from the Company.” The press release further stated that “[a]s part of this

transition, Spirit is making organizational changes to strengthen its focus on quality and operational

performance.” As President of Spirit’s Commercial Division Marnick oversaw Spirit’s programs

with Boeing.

        301.       Marnick’s departure from Spirit was not a planned retirement. When Spirit filed its

annual report with the SEC on February 15, 2022, Marnick was only 52 years old, and had worked

at Spirit for approximately 17 years. Spirit named an interim replacement for Marnick. The press

release quoted Spirit’s interim CEO as stating “[w]e wish Sam well on future endeavors.” Spirit

provided no explanation for Marnick’s departure.

        302.       In connection with her departure, Marnick agreed to enter into a non-disparagement

agreement and to release all claims in exchange for over $1 million in compensation.

X.      ADDITIONAL SCIENTER ALLEGATIONS

        303.       As alleged herein, Defendants acted with scienter because Defendants: knew that

the public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced in

the issuance or dissemination of such statements or documents as primary violations of the federal

securities laws.




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        304.    As set forth elsewhere herein in detail, the Individual Defendants, by virtue of their

receipt of information reflecting the true facts regarding Spirit, their control over, and/or receipt

and/or modification of Spirit’s allegedly materially misleading misstatements and/or their

associations with the Company which made them privy to confidential proprietary information

concerning Spirit, participated in the fraudulent scheme alleged herein.

        A.      Defendants’ Own Statements Show They Knew Of And Concealed The Mis-
                Drilled Holes Defect

        305.    Spirit’s mis-drilling of holes on the aft pressure bulkhead was identified by Boeing.

The public was not aware of the issue until Boeing issued press statements on the subject that were

published on August 23, 2023. Defendant Gentile’s statements during the September 7, 2023

Jefferies Industrials Conference show that Spirit had knowledge of the problem before it was

“found” by Boeing:

        Okay. This came up. But one of our quality processes actually found this. So our
        quality management system includes a process where we encourage employees to
        speak up if they see a manufacturing process that could be fixed or improved. One
        employee came up and told us about this, we were already actively working on a
        fix when the escape was found.

        306.    Spirit’s August 23, 2023 press release similarly indicates that Defendants were

previously aware of the issue. For example, in the press release Spirit states that “Spirit has

implemented changes to its manufacturing process to address this issue.” Because changes to

manufacturing processes necessarily require time to design and implement, this statement confirms

that Spirit was aware of the mis-drilled holes defect substantially in advance of its August 23, 2023

public disclosure.

        B.      Manufacturing And Quality Control For 737 MAX Components Were Core
                Operations For Spirit

        307.    Leading up to and during the Class Period, work relating to the Boeing 737 MAX

was Spirit’s core operation. As stated in Spirit’s SEC filings, “Our business depends largely on

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sales of components for a single aircraft program, the B737 MAX.” 53% of Spirit’s net revenues

were generated from sales of components to Boeing for the 737 in 2019, and 45% in 2022.

        308.    Moreover, in light of the two widely publicized crashes of 737 MAX airplanes in

October 2018 and March 2019, subsequent worldwide grounding of the 737 MAX, related

governmental investigations and congressional hearings, and the revelation that a defect in the 737

MAX flight systems caused the crashes, quality control for the 737 MAX came under intense

scrutiny, both in public and within the 737 MAX supply chain, including at Spirit.

        309.    As stated by Defendant Gentile during the September 7, 2023 Jefferies Industrials

Conference, “I would say there’s greater scrutiny on quality in general, post the MAX grounding

and post the pandemic and particularly on the MAX, for obvious reasons.”

        310.    This intense scrutiny made quality control for the 737 MAX a core operation for

Spirit. For example, on April 13, 2023, the Seattle Times published an article titled “Boeing 737

MAX production hit by a new defect in supplier part,” stating:

        Ron Epstein, a financial analyst with Bank of America who has an aerospace
        engineering degree, expressed amazement at yet another defect belatedly surfacing
        now despite all the scrutiny on the MAX since the two crashes.

        “How could they have missed this after four years when they were supposed to
        have looked at everything with a fine-tooth comb?” Epstein said.

        C.      Defendants Held Themselves Out As Knowledgeable About The 737 MAX
                And Quality Issues, And Had Access To The Concealed Facts

        311.    As alleged herein, the Individual Defendants repeatedly held themselves out as

knowledgeable regarding the operational details of Spirit and the subject matter of Defendants’

misrepresentations and omissions.

        312.    The positions of the Individual Defendants, as Spirit’s CEO and CFO, gave them

responsibility for and access to information concerning issues relating to Spirit’s deficient quality

controls and known manufacturing defects, and the financial impact of these defects.
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        313.   Spirit’s March 2, 2022 slide deck titled “Welcome, Investor Day 2022,” contained

the following slide, which Kevin Matthies, Spirit’s CTO and Chief Quality Officer, presented in

connection with his Investor Day remarks. As shown in the slide, Spirit represented to investors

that its Executive Leadership Team oversaw Spirit’s quality control efforts, with the Product &

Process Verification Project Management Team directly reporting to the Executive Leadership

Team, which includes Defendants Gentile and Suchinski:




        314.   During the Investor Day presentation, Matthies also stated:

        [W]e have a quality excellence council, and we have a safety council. Tom
        personally spends his time in the safety council with us every other week. That’s
        the priority level that Tom puts on safety and quality. He is demonstrating and
        leading the company in all aspects of this.
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        315.   Defendants also repeatedly stated in Spirit’s annual reports that quality was, and

would continue to be, a key focus for Spirit’s management.

        316.   Spirit’s Form 10-K for 2020 stated under the heading “Management’s Focus”:

        For the year ended December 31, 2020, management’s focus revolved around
        preserving and enhancing liquidity and reducing costs in light of the significant
        impacts of the B737 MAX grounding and COVID-19 pandemic. Additionally,
        management focused on operational execution, with a focus on safety and quality,
        while working to meet our customers’ requirements, and pursuing and completing
        organic and inorganic growth opportunities.

        For the year ended December 31, 2021, management’s focus is expected to be on
        continued preservation and enhancement of our liquidity and cost reduction in light
        of the continuing impacts of the COVID-19 pandemic; revenue growth and
        diversification, integrating the Belfast, Morocco and Dallas sites; repaying and/or
        restructuring debt; and operational execution, with a continuing focus on safety and
        quality.

        317.   Spirit’s 10-K for 2021 stated under the heading “Management’s Focus”:

        For the year ended December 31, 2021, management’s focus was on:
        •       continued preservation and enhancement of our liquidity and cost reduction
                in light of the continuing impacts of the COVID-19 pandemic;
        •       revenue growth and diversification;
        •       integrating the Belfast, Morocco and Dallas sites;
        •       repaying and/or restructuring debt; and
        •       operational execution, with a continuing focus on safety and quality.

        For the year ending December 31, 2022, management’s focus is on:
        •       continued management of the impacts of the COVID-19 pandemic;
        •       internal and external rate readiness preparedness;
        •       growth, diversification, and operational execution; and
        •       safety and quality in the key markets that we serve.

        318.   Spirit’s 10-K for 2022 stated under the heading “Management’s Focus”:

        For the year ended December 31, 2022, management’s focus was on:

                                         *       *       *

           •   safety and quality in the key markets that we serve.

        For the year ending December 31, 2023, management’s focus is on:

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             •     realizing production rate increases across all our programs while
                   maintaining a safe workplace and improving quality;

        D.         Defendants’ Incentive Compensation Provided A Motive To Conceal Quality
                   Defects

        319.       Spirit’s executive compensation plans gave the Individual Defendants motives to

conceal defects that had the potential to impact the Company’s performance or share price.

        320.       Spirit’s annual cash incentive plan was designed to allow executives including the

Individual Defendants to earn annual cash bonuses equal to or exceeding their base salaries. During

the Class Period, payouts under the annual cash incentive plan were based on factors including

EBIT [earnings before interest and taxes], free cash flow, revenue, and quality. Spirit’s SEC filings

explain the quality factor as “how our customers measure compliance with specifications and has

direct financial impact. Our quality index uses key customer metrics.”

        321.       Spirit’s long-term incentive plan was designed to allow executives to receive annual

awards of Spirit stock (or restricted stock units) equal to a multiple of their base salary. During the

Class Period, payouts under the long-term incentive plan were based on factors including total

stockholder return, free cash flow, and revenue growth. Spirit’s SEC filings explain the total

stockholder return factor as “measuring the Company’s TSR percentile rank against its peers over

a three-year performance period.”

        322.       Spirit’s compensation to the Individual Defendants during the Class Period,

through 2022, the last year for which complete information is available, is summarized in the

following table:

                                                  2022            2021            2020
                   Defendant
                   Gentile
                   Base Salary             $1,300,000      $1,300,000       $1,300,000
                   Cash Incentive
                   Award                     $339,300      $1,497,053       $1,410,494

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               Long-Term
               Incentive Award          $7,150,000      $7,150,000       $7,150,082
               Total
               compensation3          $11,728,900      $10,849,938     $10,454,350

               Defendant
               Suchinski
               Base Salary                $619,863        $525,000         $500,000
               Cash Incentive
               Award                      $122,055        $427,839         $363,696
               Long-Term
               Incentive Award          $1,437,500      $1,050,000         $875,064
               Total
               compensation             $2,622,267      $2,051,367       $1,695,552

        323.   The incentive compensation available to the Individual Defendants under these

programs was exceedingly high in absolute terms, in comparison to their base salaries, and in

comparison to wages for average Spirit employees.

        324.   Defendant Gentile’s combined 2022 Cash Incentive Award and Long-Term

Incentive Award was 5.7 times his salary. Defendant Suchinski’s combined 2022 Cash Incentive

Award and Long-Term Incentive Award was 2.5 times his salary.

        325.   The 2022 annual total compensation of the median Spirit employee (excluding the

CEO) was $64,171. Therefore, Defendant Gentile’s combined 2022 Cash Incentive Award and

Long-Term Incentive Award was over 116 times the median employee’s total compensation.

Similarly, Defendant Suchinski’s combined 2022 Cash Incentive Award and Long-Term Incentive

Award was over 24 times the median employee’s total compensation.




3
  This table does not present all components of the Individual Defendants’ total compensation, so
the figures in the “Total compensation” rows are greater than the sum of base salary, cash incentive
award, and long-term incentive award.
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        E.      Spirit Executives Including Defendant Gentile Left The Company Under
                Suspect Circumstances

        326.    As discussed above in Parts IX.A and IX.D, Defendant Gentile and Spirit’s

Commercial Division Head Samantha Marnick both abruptly left the Company shortly after the end

of the Class Period, and with no explanation given for their departures. Neither departure was the

result of a planned retirement. Both former executives signed non-disparagement agreements and

released all potential claims against Spirit in exchange for aggregate payments that will amount to

over a million dollars.

        327.    In addition, during the Class Period, on January 24, 2023, Spirit’s Board abruptly

terminated Kevin Matthies, with his separation to be effective as of January 26, 2023. At the time

of his termination, Matthies’ title was Senior Vice President and General Manager, Boeing

Programs. His previous roles at Spirit included Chief Technology and Quality Officer, and Senior

Vice President of Quality.

        328.    Matthies’s departure from Spirit was not a planned retirement. When Spirit filed its

annual report with the SEC on February 15, 2022, Matthies was only 52 years old, and had worked

at Spirit for approximately nine years. Spirit announced Matthies’ termination on January 27, 2023,

but provided no explanation of the reasons for his departure.

        329.    In connection with his termination, Matthies agreed to enter into a non-

disparagement agreement and to release all claims in exchange for over $1 million in compensation.

        F.      Defendant Spirit Acted With Corporate Scienter

        330.    The scienter of the Individual Defendants is imputable to Spirit because they were

officers of Spirit acting within the scope of their authority.




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        331.    The misrepresentations and omissions of Spirit as alleged herein are of such a

nature that they would have been approved by corporate officials sufficiently knowledgeable about

Spirit to know that those statements and omissions were misleading.

XI.     LOSS CAUSATION

        332.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiffs and the Class.

        333.    During the Class Period, Plaintiffs and the Class purchased Spirit’s shares at

artificially inflated prices and were damaged thereby. The price of the Company’s shares

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

XII.    CLASS ACTION ALLEGATIONS

        334.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities who purchased

or otherwise acquired the Class A common stock of Spirit between April 8, 2020 and September 7,

2023, both dates inclusive, and who were damaged thereby (the “Class”). Excluded from the Class

are Defendants, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

which Defendants have or had a controlling interest.

        335.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Spirit’s shares actively traded on the NYSE. While the

exact number of Class members is unknown to Plaintiffs at this time and can only be ascertained

through appropriate discovery, Plaintiffs believe that there are at least hundreds or thousands of

members in the proposed Class. Millions of Spirit shares were traded publicly during the Class

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Period on the NYSE. Record owners and other members of the Class may be identified from records

maintained by Spirit or its transfer agent and may be notified of the pendency of this action by mail,

using the form of notice similar to that customarily used in securities class actions.

        336.      Plaintiffs’ claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of federal

law that is complained of herein.

        337.      Plaintiffs will fairly and adequately protect the interests of the members of the Class

and have retained counsel competent and experienced in class and securities litigation.

        338.      Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Spirit; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        339.      A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden of

individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.



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 XIII. UNDISCLOSED ADVERSE FACTS

        340.    The market for Spirit’s shares was open, well-developed and efficient at all relevant

times. As a result of Defendants’ materially false and/or misleading statements, and/or failures to

disclose, Spirit’s shares traded at artificially inflated prices during the Class Period. Plaintiffs and

other members of the Class purchased or otherwise acquired Spirit’s shares relying upon the

integrity of the market price of the Company’s shares and market information relating to Spirit and

have been damaged thereby.

        341.    During the Class Period, Defendants materially misled the investing public thereby

inflating the price of Spirit’s shares, by publicly issuing false and/or misleading statements and/or

omitting to disclose material facts necessary to make Defendants’ statements, as set forth herein,

not false and/or misleading. The statements and omissions were materially false and/or misleading

for the reasons set forth herein and because they failed to disclose material adverse information

and/or misrepresented the truth about Spirit’s business, operations, and prospects as alleged herein.

        342.    At all relevant times, the material misrepresentations and omissions and

undisclosed scheme particularized in this Complaint directly or proximately caused or were a

substantial contributing cause of the damages sustained by Plaintiffs and other members of the

Class. As described herein, during the Class Period, Defendants made or caused to be made a series

of materially false and/or misleading statements about Spirit’s prospects and engaged in a scheme

to do the same. These material misstatements and/or omissions and/or conduct had the cause and

effect of creating in the market an unrealistically positive assessment of the Company and its

prospects, thus causing the Company’s shares to be overvalued and artificially inflated at all

relevant times. Defendants’ materially false and/or misleading statements and/or conduct during

the Class Period resulted in Plaintiffs and other members of the Class purchasing the Company’s



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shares at artificially inflated prices, thus causing the damages complained of herein when the truth

was revealed.

XIV. APPLICABILITY OF PRESUMPTION OF RELIANCE (FRAUD-ON-THE-
     MARKET DOCTRINE)

        343.    The market for Spirit’s shares was open, well-developed and efficient at all relevant

times. As a result of the materially false and/or misleading statements and/or failures to disclose,

Spirit’s shares traded at artificially inflated prices during the Class Period. Plaintiffs and other

members of the Class purchased or otherwise acquired the Company’s shares relying upon the

integrity of the market price of Spirit’s shares and market information relating to Spirit, and have

been damaged thereby.

        344.    During the Class Period, the artificial inflation of Spirit’s shares was caused by the

material misrepresentations and/or omissions particularized in this Complaint causing the damages

sustained by Plaintiffs and other members of the Class. As described herein, during the Class

Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Spirit’s business, prospects, and operations. These material misstatements and/or

omissions created an unrealistically positive assessment of Spirit and its business, operations, and

prospects, thus causing the price of the Company’s shares to be artificially inflated at all relevant

times, and when disclosed, negatively affected the value of the Company shares. Defendants’

materially false and/or misleading statements during the Class Period resulted in Plaintiffs and other

members of the Class purchasing the Company’s shares at such artificially inflated prices, and each

of them has been damaged as a result.

        345.    At all relevant times, the market for Spirit’s shares was an efficient market for the

following reasons, among others:




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                (a)     Spirit shares met the requirements for listing, and were listed and actively

 traded on the NYSE, a highly efficient and automated market;

                (b)     As a regulated issuer, Spirit filed periodic public reports with the SEC

 and/or the NYSE;

                (c)     Spirit regularly communicated with public investors via established market

 communication mechanisms, including through regular dissemination of press releases on the

 national circuits of major newswire services and through other wide-ranging public disclosures,

 such as communications with the financial press and other similar reporting services; and/or

                (d)     Spirit was followed by securities analysts employed by brokerage firms who

 wrote reports about the Company, and these reports were distributed to the sales force and certain

 customers of their respective brokerage firms. Each of these reports was publicly available and

 entered the public marketplace.

        346.    As a result of the foregoing, the market for Spirit’s shares promptly digested current

information regarding Spirit from all publicly available sources and reflected such information in

Spirit’s share price. Under these circumstances, all purchasers of Spirit’s shares during the Class

Period suffered similar injury through their purchase of Spirit’s shares at artificially inflated prices

and a presumption of reliance applies.

        347.    A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. U.S., 406 U.S. 128 (1972), because

the Class’s claims are, in large part, grounded on Defendants’ material omissions. Because this

action involves Defendants’ failure to disclose material adverse information regarding the

Company’s business operations and financial prospects—information that Defendants were

obligated to disclose—positive proof of reliance is not a prerequisite to recovery. All that is



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necessary is that the facts withheld be material in the sense that a reasonable investor might have

considered them important in making investment decisions. Given the importance of the Class

Period material omissions set forth above, that requirement is satisfied here.

 XV.     NO SAFE HARBOR

         348.       The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking statements

because at the time each of those forward-looking statements was made, the speaker had actual

knowledge that the forward-looking statement was materially false or misleading, and/or the

forward-looking statement was authorized or approved by an executive officer of Spirit who knew

that the statement was false when made.

 XVI.    FIRST CLAIM

                          Violation of Section 10(b) of The Exchange Act and
                            Rule 10b-5(a) — (c) Promulgated Thereunder
                                        Against All Defendants

         349.       Plaintiffs repeat and re-allege each and every allegation contained above as if fully

set forth herein.

         350.       During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

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public, including Plaintiffs and other Class members, as alleged herein; and (iii) cause Plaintiffs

and other members of the Class to purchase Spirit’s shares at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        351.    Defendants: (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s shares in an effort to maintain

artificially high market prices for Spirit’s shares in violation of Section 10(b) of the Exchange Act

and Rule 10b-5(a) — (c). All Defendants are sued either as primary participants in the wrongful

and illegal conduct charged herein or as controlling persons as alleged below.

        352.    Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Spirit’s financial well-

being and prospects, as specified herein.

        353.    Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of Spirit’s value, which included the

making of, or the participation in the making of, untrue statements of material facts and/or omitting

to state material facts necessary in order to make the statements made about Spirit and its business

operations and future prospects in light of the circumstances under which they were made, not

misleading, as set forth more particularly herein, and engaged in transactions, practices and a course




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of business which operated as a fraud and deceit upon the purchasers of the Company’s shares

during the Class Period.

        354.    Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives at the

Company during the Class Period and members of the Company’s management team or had control

thereof; (ii) each of these defendants, by virtue of their responsibilities and activities as an officer

of the Company, was privy to and participated in the creation, development and reporting of the

Company’s internal budgets, plans, projections and/or reports; (iii) each of these defendants

enjoyed significant personal contact and familiarity with the other defendants and was advised of,

and had access to, other members of the Company’s management team, internal reports and other

data and information about the Company’s finances, operations, and sales at all relevant times; and

(iv) each of these defendants was aware of the Company’s dissemination of information to the

investing public which they knew and/or recklessly disregarded was materially false and

misleading.

        355.    Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Spirit’s prospects from the investing public and supporting

the artificially inflated price of its shares. As demonstrated by Defendants’ overstatements and/or

misstatements of the Company’s business, operations, and prospects throughout the Class Period,

Defendants, if they did not have actual knowledge of the misrepresentations and/or omissions




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alleged, were reckless in failing to obtain such knowledge by deliberately refraining from taking

those steps necessary to discover whether those statements were false or misleading.

        356.    As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Spirit’s

shares was artificially inflated during the Class Period. In ignorance of the fact that market prices

of the Company’s shares were artificially inflated, and relying directly or indirectly on the false and

misleading statements made by Defendants, or upon the integrity of the market in which the shares

trades, and/or in the absence of material adverse information that was known to or recklessly

disregarded by Defendants, but not disclosed in public statements by Defendants during the Class

Period, Plaintiffs and the other members of the Class acquired Spirit’s shares during the Class

Period at artificially high prices and were damaged thereby.

        357.    At the time of said misrepresentations and/or omissions, Plaintiffs and other

members of the Class were unaware of their falsity and believed them to be true. Had Plaintiffs and

the other members of the Class and the marketplace known the truth regarding Spirit, which was

not disclosed by Defendants, Plaintiffs and other members of the Class would not have purchased

or otherwise acquired their Spirit shares, or, if they had acquired such shares during the Class

Period, they would not have done so at the artificially inflated prices which they paid.

        358.    By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        359.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

the other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s shares during the Class Period.




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 XVII. SECOND CLAIM

                             Violation of Section 20(a) of The Exchange Act
                                   Against the Individual Defendants

         360.       Plaintiffs repeat and re-allege each and every allegation contained above as if fully

set forth herein.

         361.       Individual Defendants acted as controlling persons of Spirit within the meaning of

Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and

their ownership and contractual rights, participation in, and/or awareness of the Company’s

operations and intimate knowledge of the false statements disseminated to the investing public,

Individual Defendants had the power to influence and control and did influence and control, directly

or indirectly, the decision-making of the Company, including the content and dissemination of the

various statements which Plaintiffs contend are false and misleading. Individual Defendants were

provided with or had unlimited access to copies of the Company’s reports, press releases, public

filings, and other statements alleged by Plaintiffs to be misleading prior to and/or shortly after these

statements were issued and had the ability to prevent the issuance of the statements or cause the

statements to be corrected.

         362.       In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular decisions giving rise to the securities violations as alleged herein, and exercised the same.

         363.       As set forth above, Spirit and Individual Defendants each violated Section 10(b)

and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position

as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange

Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and other




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members of the Class suffered damages in connection with their purchases of the Company’s shares

during the Class Period.

XVIII. PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

        (b)    Awarding compensatory damages in favor of Plaintiffs and the other Class

members against all defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)    Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

        (d)    Such other and further relief as the Court may deem just and proper.

XIX. JURY TRIAL DEMANDED

        Plaintiffs hereby demand a trial by jury.




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Dated: December 19, 2023           GLANCY PRONGAY & MURRAY LLP

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                                   Named Plaintiff Alex Freeman




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                                    PROOF OF SERVICE

       I, the undersigned say:

       I am not a party to the above case and am over eighteen years old.

       On December 19, 2023, I served true and correct copies of the foregoing document, by

posting the document electronically to the ECF website of the United States District Court for

the Southern District of New York, for receipt electronically by the parties listed on the Court’s

Service List.

       I affirm under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on December 19, 2023.



                                             s/ Garth Spencer
                                             Garth Spencer
